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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                                Chapter 7

 LIVE WELL FINANCIAL, INC.,                            Case No. 19-11317 (LSS)

                Debtor.


           GLOBAL NOTES REGARDING THE DEBTOR’S SCHEDULES OF
          ASSETS AND LIABILITIES, LIST OF EQUITY SECURITY HOLDERS,
                   AND STATEMENT OF FINANCIAL AFFAIRS

                                           Introduction

         Live Well Financial, Inc., the debtor in the above-captioned chapter 7 case (the “Debtor”),
files its (i) Schedules of Assets and Liabilities (the “Schedules”), (ii) List of Equity Security
Holders, and (iii) Statement of Financial Affairs (the “Statements” and collectively, the “Schedules
and Statements”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”). The Debtor has made reasonable and good faith efforts to prepare and file
the Schedules and Statements in accordance with section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

       On June 10, 2019 (the “Involuntary Petition Date”), three petitioning creditors filed an
involuntary petition against the Debtor under chapter 7 of the Bankruptcy Code with the
Bankruptcy Court.

        On July 1, 2019 (the “Order for Relief Date”), the Bankruptcy Court entered the Order for
Relief [D.I.49]. On that same date, the Office of the United States Trustee for Region 3 appointed
David W. Carickoff as trustee of the Debtor’s estate (the “Trustee”).

        The following global notes regarding the Schedules and Statements (the “Global Notes”)
pertain to, are incorporated by reference into, and comprise an integral part of the Schedules and
Statements. The Global Notes should be referred to and reviewed in connection with any review
of the Schedules and Statements.

        The Schedules and Statements (i) are unaudited; (ii) do not purport to represent financial
statements prepared in accordance with Generally Accepted Accounting Principles; (iii) were
gathered from a variety of different sources available to the Debtor; and (iv) were prepared with
such data to provide a cut-off as near as possible to the Order for Relief Date, except where the
Schedules or Statements specify a different measuring date. For example, certain parts of the
Statements use the filing of the case as the measuring date and, in such instances, the Involuntary
Petition Date has been used.

        Unless otherwise stated, the Schedules and Statements reflect the Debtor’s net book value
of assets and liabilities as of June 30, 2019.
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                                       Reservation of Rights

       Reasonable efforts have been made to prepare and file complete and accurate Schedules
and Statements based on the information available and reviewed at the time of preparation. Further
review of additional information may reveal inadvertent errors or omissions.

       All rights of the Debtor, the Debtor’s estate, and the Trustee are fully reserved to amend
the Schedules and Statements from time to time as may be necessary or appropriate. Investigation
and due diligence are ongoing.

        Nothing contained in the Schedules and Statements, or in these Global Notes, shall
constitute either a waiver of any rights of the Debtor, the estate or the Trustee or an admission by
any of them with respect to any issue in this chapter 7 case, including without limitation any issues
involving ownership of assets, values, amounts, security interests, liens, transfers, objections to
claims, substantive consolidation, equitable subordination, whether a person or entity is an
“insider” as that term is used in the Bankruptcy Code, any defenses, setoff, recoupment,
characterization or recharacterization of claims, characterization of contracts, assumption or
rejection of contracts or leases under the provisions of the Bankruptcy Code, and/or any claims or
causes of action arising under the Bankruptcy Code or under any other applicable law relating to
the recovery of assets or the avoidance of transfers for the benefit of creditors and the bankruptcy
estate.

        All rights of the Debtor, the estate, and the Trustee are fully reserved with respect to, among
other things, (a) the values, amounts, classification, treatment, and/or characterization of the assets
and liabilities listed on the Schedules and Statements; (b) the right to designate a claim listed on
the Schedules or Statements as “disputed,” “contingent,” and/or “unliquidated”; or (c) any
determination as to whether any claim listed on the Schedules or Statements may be exclusive or
inclusive of contingent and/or additional unliquidated amounts.

        All rights with respect to any claims, counterclaims, causes of action, defenses, or
arguments are fully reserved, and nothing contained in the Schedules and Statements, or in these
Global Notes, shall be deemed to be a waiver of any kind. Where the Debtor is named as a
defendant in pending litigation, nothing contained in the Schedules and Statements, or in these
Global Notes, shall be deemed to be an admission or determination with respect to, or a waiver of
any defense or objection to, any claim, counterclaim, or cause of action asserted in such litigation,
and all defenses, objections, and other rights with respect thereto are fully preserved.

        The Trustee currently is investigating a number of prepetition transactions and transfers by
the Debtor and related entities, as well as other potential challenges, claims, and causes of action.
The fact that a particular claim or liability is not listed on the Schedules and Statements as being
contingent, unliquidated, disputed, or subject to an offset as of the Order for Relief Date only
reflects Mr. Haddock’s knowledge in connection with such claim or liability as of the Order for
Relief Date and does not bind the Trustee in any investigation, litigation, contested matter,
adversary proceeding, civil action, or otherwise. The Trustee, on behalf of himself and on behalf
of the Debtor’s estate, expressly reserves all rights under applicable law, including without
limitation Bankruptcy Code section 502(d) and any other right of setoff or offset under applicable
law or rules, with respect to all parties, including all parties listed on Schedules D and E/F.


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        The Schedules and Statements have been signed by Glenwood L. Haddock. Mr. Haddock
was the Chief Financial Officer of Live Well Financial, Inc. from January 2019 through July 2019
and prior to that served as Senior Director of Operations. Mr. Haddock currently is a consultant
to the Trustee. In preparing, reviewing, and signing the Schedules and Statements, Mr. Haddock
necessarily has relied upon the efforts, statements, and representations of other parties. Mr.
Haddock has not (and could not have) personally verified the accuracy of every statement and
representation set forth in the Schedules and Statements, including statements and representations
concerning amounts owed to creditors.

                                    Confidential Information

        There may be instances in the Schedules and Statements where it was deemed necessary
or appropriate to redact from the public record information such as names, addresses, amounts, or
other details. Typically, this approach has been used because of (a) an agreement between the
particular Debtor and a third party, (b) concerns of confidentiality, or (c) concerns for the privacy
of an individual. The addresses of former employees, directors and officers have not been listed
in the Schedules and Statements and are on file with the Trustee. Any required notice or other
document will be mailed to the address listed in the Debtor’s books and records for such parties.
In addition, the Debtor may be parties to executory contracts that contain confidentiality provisions
and, where applicable, such confidential information has not been included in the Schedules or the
Statements.

                            Notes with Respect to Specific Schedules

Schedule A/B

       Part 1, Question 3. Cash values listed under Question 3 reflect statement balances as of
       June 30, 2019. Except for the Wells Fargo business checking account, the funds may be
       subject to claims asserted by certain creditors, including those listed on Schedule D.

       Part 3, Question 11. Following is a breakdown of the accounts receivable listed under
       Question 11:
                                                         Face        Doubtful/
         Account Receivable         Description         Amount      Uncollectible        Total
        Contour Mortgage          Broker Premium        $6,593.46           $0.00        $6,593.46
        Guaranteed Rate           Broker Premium        $2,675.40           $0.00        $2,675.40
        Mortgage Direct           Broker Premium        $3,564.90           $0.00        $3,564.90
        Mortgage Direct           Broker Premium        $4,861.69           $0.00        $4,861.69
        Red Wagon Mortgage        Broker Premium        $8,897.09           $0.00        $8,897.09
        Thomas Scherr             Employee Note        $11,334.46           $0.00       $11,334.46
                                                                                        $37,927.00




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      Part 4, Question 16. The values listed under Question 16 for the GNMA Bonds reflect
      the aggregate “Market Value” set forth on the U.S. Bank statements for accounts no.
      -06000 and -26000 as of June 30, 2019. The “Market Value” listed for account no. -26000
      corresponds to the collateral value listed on Schedule D for Flagstar Bank, FSB. These
      bonds were surrendered to Flagstar Bank, FSB, pursuant to the Stipulation Granting
      Flagstar Bank, FSB, a Federal Chartered Savings Bank, Limited Relief from the Automatic
      Stay (see Order at D.I. 97). The “Market Value” listed for account no. -06000 corresponds
      to the sum of the collateral values listed on Schedule D for Industrial and Commercial Bank
      of China Financial Services, LLC and for Mirae Asset Securities (USA) Inc. No
      independent analysis has been undertaken for the “Markey Values” listed under
      Question 16.

      Part 7, Question 38-41. The Debtor’s office furniture, equipment, and fixtures have been
      sold, abandoned or otherwise disposed of (see, e.g., Order at D.I. 105). The Trustee or his
      consultants have possession of the Debtor’s servers and certain computer equipment.

      Part 9, Question 55. The two properties listed under question 55 were real estate owned
      (REO) as of June 30, 2019. Subsequently, the Locust Grove, Virginia property was sold
      in July 2019 and the value listed under question 55 represents the net sale proceeds. The
      Rockaway Beach, Missouri property remains REO and the value listed under question 55
      represents the outstanding loan balance as of June 30, 2019.

      Part 11, Question 71. The first three loans listed under question 71 are Live Well-owned
      loans. Together with the REO, these loans sometimes are referred to as the “scratch and
      dent” loans.

      The approximately 230 loans warehoused with First Tennessee Bank, N.A. and listed under
      question 71 are in the process of being surrendered to the bank pursuant to the Stay Relief
      Stipulation and Collateral Surrender Agreement (see Order at D.I. 104). The actual value
      ultimately realized from the liquidation of such loans could differ materially from the
      Debtor’s net book value as of June 30, 2019.

Schedule D

      The Debtor may not have listed on Schedule D all parties that may assert their claims are
      secured. See Global Notes to Schedule A/B above for information regarding certain
      specific asset values.

Schedule E/F

      Part 1. The inclusion of any claim on Schedule E/F does not constitute an admission that
      such claim is entitled to priority treatment of any kind under section 507 of the Bankruptcy
      Code. All rights are fully reserved to dispute or to seek to reclassify the asserted priority
      status of any claim on any basis.

      Part 2. Reasonable efforts have been taken to report on Schedule E/F all known general
      unsecured claims against the Debtor as of the Order for Relief Date, according to the
      Debtor’s books and records.


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       Certain claims listed on Schedule E/F, including without limitation the claims scheduled
       on behalf of Five Elms Coinvest, L.P., Five Elms Equity Fund I L.P., Five Elms Haakon,
       L.P., LWFVEST, LLC, North Hill Ventures, II LP, James Brown, Gantcher Family
       Limited, and Eric Legoff, may relate to the purchase and sale of certain preferred stock
       issued by the Debtor and such claims may be subject to subordination.

       The total amount of unsecured claims listed on Schedule E/F does not include any amounts
       for potential deficiency claims of creditors listed on Schedule D.

Schedule G

       Reasonable efforts have been made to identify contracts and leases that existed as of the
       Order for Relief Date. The inclusion of a particular agreement on Schedule G shall not
       constitute or be deemed to be an admission that such an agreement is an executory contract
       or an unexpired lease that was in effect on the Order for Relief Date or that such agreement
       was or remains valid or enforceable, nor shall it be deemed an assumption of any such
       agreement. Similarly, the omission of any particular agreement from Schedule G shall not
       constitute or be deemed to be an admission that such agreement is not an executory contract
       or an unexpired lease, nor shall it be deemed to be a rejection of any such agreement. All
       rights of the Debtor, the Debtor’s estate, and the Trustee under the Bankruptcy Code with
       respect to all such agreements are fully reserved.

       Certain month-to-month non-residential real property leases have been listed on Schedule
       G out of an abundance of caution. All non-residential real property leases listed on
       Schedule G have been terminated or rejected, as applicable, by no later than either the
       Order for Relief Date or such other date as is set forth in the Order Pursuant to Sections
       105, 365, and 554 of the Bankruptcy Code and Bankruptcy Rules 6006 and 6007
       Authorizing (I) the Rejection of Certain Unexpired Leases of Nonresidential Real Property
       and (II) Abandonment of Related Personal Property (D.I. 105).

                     Note with Respect to List of Equity Security Holders

According to the Debtor’s books and records, as of the Involuntary Petition Date, Michael C. Hild
was the holder of approximately 54.88% of the common stock of the Debtor and no other party
held five percent (5%) or more of the Debtor’s common stock.

                          Notes with Respect to Specific Statements

Part 1, Question 2

       The amounts of non-business revenue listed under Question 2 are revenues from bond
       trading activities during the respective periods per the Debtor’s books and records. These
       amounts do not reflect losses from such bond trading activities, which may materially




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      reduce such amounts. The actual amounts of non-business revenue may differ materially
      from those reflected in the Debtor’s books and records.

Part 2, Question 3

      The amounts listed under Question 3 and on Attachment 3 are transfers which, according
      to the Debtor’s books and records, were made during the period from March 12, 2019 to
      June 10, 2019, other than (i) regular employee compensation, (ii) transfers where the
      aggregate value transferred to a particular party was less than $6,825, and (iii) transfers
      listed under Question 4 below.

Part 2, Question 4

      The amounts listed under Question 4 and on Attachment 4 are transfers which, according
      to the Debtor’s books and records, were made during the period from June 10, 2018 to June
      10, 2019 either to an “insider,” as that term is defined in Bankruptcy Code section 101(31),
      or that may have benefited an insider.

      Transfers that may have benefited an insider include transfers to the Debtor’s lenders either
      as part of loan transactions or in connection with the surrender of certain collateral. In each
      case the debt was guaranteed by an insider, Michael C. Hild.

      Transfers to insiders include payroll, expense reimbursement, director fees, and guaranty
      fees. For payroll, the Debtor paid such amounts to Paychex, Inc., the Debtor’s third party
      payroll processor, which made the applicable payments to the employees.

Part 2, Question 7

      The Debtor has used reasonable efforts to report all legal actions, proceedings,
      investigations, arbitrations, mediations, and audits by federal or state agencies in which the
      Debtor was a defendant or respondent within one year prior to the Involuntary Petition
      Date.

      As of the Involuntary Petition Date, the Debtor was or had been a plaintiff or party to
      approximately 100 state foreclosure actions or similar lawsuits in connection with its now-
      terminated residential mortgage origination and servicing business. Upon information and
      belief, the Debtor has been or will be substituted as a party in such litigation by the
      successor servicer or another party. Due to the volume of such foreclosure actions, they
      have not been listed under Question 7.

      Since the Order for Relief Date, the Debtor and certain of its former officers and employees
      have been named as defendants in a civil action filed by the U.S. Securities and Exchange
      Commission. See Case Civil Action No. 1:19-cv-8086 (S.D.N.Y.).

Part 13, Question 30

      The amounts listed under Question 30 and on Attachment 30 also appear under Part 2,
      Question 4 and on Attachment 4.


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           Fill in this information to identify the case:

 Debtor name        Live Well Financial, Inc.

 United States Bankruptcy Court for the:          DISTRICT OF DELAWARE

 Case number (if known)        19-11317-LSS
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                   Sources of revenue                      Gross revenue
       which may be a calendar year                                                          Check all that apply                    (before deductions and
                                                                                                                                     exclusions)

       From the beginning of the fiscal year to filing date:                                 Operating a business                            $4,951,912.36
       From 1/01/2019 to Filing Date
                                                                                              Other


       For prior year:                                                                       Operating a business                          $32,437,553.88
       From 1/01/2018 to 12/31/2018
                                                                                              Other


       For year before that:                                                                 Operating a business                          $89,189,323.77
       From 1/01/2017 to 12/31/2017
                                                                                              Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                             Description of sources of revenue       Gross revenue from
                                                                                                                                     each source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

       From the beginning of the fiscal year to filing date:                                 GNMA Bond Income
       From 1/01/2019 to Filing Date                                                         1/1/2019-6/30/2019                             $19,201,290.49


       For prior year:                                                                       GNMA Bond Income
       From 1/01/2018 to 12/31/2018                                                          1/1/2018-12/31/2018                            $46,024,213.75


       For year before that:                                                                 GNMA Bond Income
       From 1/01/2017 to 12/31/2017                                                          1/1/2017-12/31/2017                            $61,677,266.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                       Dates                  Total amount of value          Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See Attachment 3                                          Various                    $121,437,501.48             Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be
   adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
   Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                        Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Attachment 4                                          Various                       $7,749,115.89           Transfers to insiders

       4.2.    See Attachment 4                                          Various                    $955,212,176.97            Loan repayments, debt
                                                                                                                               guaranteed by an insider

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                          Describe of the Property                                         Date                Value of property

       Republic Bank & Trust Company                        Collateral Surrender Agreement for 66                            5/24/2019           $14,023,722.73
       9600 Brownsboro Rd                                   loans
       Louisville, KY 40241-3901

       Customers Bank                                       Collateral Surrender Agreement for 17                            6/4/2019              $2,493,598.55
       99 Bridge St                                         loans
       Phoenixville, PA 19460-3411


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

       None
       Creditor's name and address                          Description of the action creditor took                          Date action was                 Amount
                                                                                                                             taken
       Republic Bank & Trust Company                        Money was taken from pledge account and                          5/16/2019               $653,997.68
       9600 Brownsboro Rd                                   applied to outstanding loan balance.
       Louisville, KY 40241-3901                            Last 4 digits of account number:




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       Creditor's name and address                          Description of the action creditor took                          Date action was             Amount
                                                                                                                             taken
       Flagstar Bank, FSB                                   Money was taken from pledge account and                          5/9/2019                $300,907.04
       5151 Corporate Dr                                    applied to outstanding loan balance.
       Troy, MI 48098-2639                                  Last 4 digits of account number:

       Flagstar Bank, FSB                                   Money was taken from clearing account                            5/9/2019-5/24/          $201,904.16
       5151 Corporate Dr                                    and applied to outstanding loan balance.                         2019
       Troy, MI 48098-2639                                  Last 4 digits of account number:

       Flagstar Bank, FSB                                   Money was taken from funding account                             5/9/2019                   $712.42
       5151 Corporate Dr                                    and applied to outstanding loan balance.
       Troy, MI 48098-2639                                  Last 4 digits of account number:

       Customers Bank                                       Money was taken from funding account                             5/20/2019               $336,099.84
       99 Bridge St                                         and applied to outstanding loan balance.
       Phoenixville, PA 19460-3411                          Last 4 digits of account number:

       Customers Bank                                       Money was taken from funding account                             5/20/2019               $455,470.16
       99 Bridge St                                         and applied to outstanding loan balance.
       Phoenixville, PA 19460-3411                          Last 4 digits of account number:


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

       None.
               Case title                                    Nature of case              Court or agency's name and                Status of case
               Case number                                                               address
       7.1.    See Attachment 7                                                          See Attachment 7                               Pending
                                                                                                                                        On appeal
                                                                                                                                        Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      None
               Recipient's name and address                  Description of the gifts or contributions                  Dates given                        Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None



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       Description of the property lost and how             Amount of payments received for the loss                    Dates of loss           Value of property
       the loss occurred                                                                                                                                     lost
                                                            If you have received payments to cover the loss, for
                                                            example, from insurance, government compensation, or
                                                            tort liability, list the total received.

                                                            List unpaid claims on Official Form 106A/B (Schedule
                                                            A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                 Who was paid or who received the              If not money, describe any property transferred               Dates                Total amount or
                 transfer?                                                                                                                                 value
                 Address
       11.1.     Bayard, P.A.
                 600 N King St Ste 400
                 Wilmington, DE 19801-3722                                                                                   5/22/2019                $75,000.00

                 Email or website address
                 https://www.bayardlaw.com/

                 Who made the payment, if not debtor?




       11.2.     Bayard, P.A.
                 600 N King St Ste 400
                 Wilmington, DE 19801-3722                                                                                   5/29/2019                $52,497.60

                 Email or website address
                 https://www.bayardlaw.com/

                 Who made the payment, if not debtor?




       11.3.     Getzler Henrich & Associates
                 LLC
                 295 Madison Ave Fl 20
                 New York, NY 10017-6358                                                                                     6/14/2019              $100,000.00

                 Email or website address
                 https://getzlerhenrich.com/

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
       Name of trust or device                                 Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                     were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
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    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                         Description of property transferred or                     Date transfer was         Total amount or
              Address                                        payments received or debts paid in exchange                made                               value

 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                                  Dates of occupancy
                                                                                                                         From-To

 Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                Facility name and address                    Nature of the business operation, including type of services the          If debtor provides meals
                                                             debtor provides                                                           and housing, number of
                                                                                                                                       patients in debtor’
                                                                                                                                                         s care

 Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                  Names; Social Security Numbers; Dates of Birth; Addresses;
                  Account Numbers
                  Does the debtor have a privacy policy about that information?
                   No
                  Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                    Yes. Fill in below:
                    Name of plan                                                                              Employer identification number of the plan
                    Live Well Financial, Inc. 401(k) Profit Sharing Plan & Trust                              EIN: XX-XXXXXXX

                    Has the plan been terminated?
                    No
                     Yes

 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units



Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5

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 Debtor      Live Well Financial, Inc.                                                                 Case number (if known) 19-11317-LSS




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and               Last 4 digits of           Type of account or           Date account was           Last balance before
                Address                                      account number             instrument                   closed, sold,               closing or transfer
                                                                                                                     moved, or
                                                                                                                     transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                    Names of anyone with access            Description of the contents               Do you still
                                                                  to it                                                                            have it?
                                                                  Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


      None
       Facility name and address                                  Names of anyone with access            Description of the contents               Do you still
                                                                  to it                                                                            have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

     None
       Owner's name and address                                   Location of the property               Describe the property                                  Value
       Government National Mortgage                                                                      Funds in GNMA P&I account
       Association                                                                                       at First Tennessee Bank, N.A.
       451 7th St SW # B-133                                                                             (acct. # -0016)
       Washington, DC 20410-0001

       Owner's name and address                                   Location of the property               Describe the property                                  Value
       Government National Mortgage                                                                      Funds in GNMA T&I account
       Association                                                                                       at First Tennessee Bank, N.A.
       451 7th St SW # B-133                                                                             (acct. # -0009)
       Washington, DC 20410-0001

       Owner's name and address                                   Location of the property               Describe the property                                  Value
       TIAA, FSB, f/k/a/ Everbank                                                                        Funds in Trust for Everbank
       501 Riverside Ave                                                                                 accout at Republic Bank &
       Jacksonville, FL 32202-4934                                                                       Trust Co. (acct. # -4933)
                                                                                                         subject to reconciliation


 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).


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 Debtor      Live Well Financial, Inc.                                                                 Case number (if known) 19-11317-LSS



      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                 Court or agency name and               Nature of the case                           Status of case
       Case number                                                address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                      Governmental unit name and                 Environmental law, if known              Date of notice
                                                                  address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                      Governmental unit name and                 Environmental law, if known              Date of notice
                                                                  address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
    Business name address                                   Describe the nature of the business              Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.

                                                                                                             Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                      Date of service
                                                                                                                                             From-To
       26a.1.       Paula Foster (address on file)                                                                                           2/2009 to 6/2019



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

           None
       Name and address                                                                                                                      Date of service
                                                                                                                                             From-To
       26b.1.       Keiter Stephens Hurst Gary & Shreaves PC                                                                                 6/2017 to 6/2019
                    4401 Dominion Blvd
                    Glen Allen, VA 23060-3379

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 Debtor      Live Well Financial, Inc.                                                                 Case number (if known) 19-11317-LSS



    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

           None
       Name and address                                                                                    If any books of account and records are unavailable,
                                                                                                           explain why
       26c.1.       Live Well Financial, Inc.



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

           None
       Name and address
       26d.1.       Flagstar Bank, FSB
                    5151 Corporate Dr
                    Troy, MI 48098-2639
       26d.2.       Customers Bank
                    99 Bridge St
                    Phoenixville, PA 19460-3411
       26d.3.       Republic Bank & Trust Company
                    9600 Brownsboro Rd
                    Louisville, KY 40241-3901
       26d.4.       First Tennessee Bank, N.A.
                    165 Madison Ave
                    Memphis, TN 38103-2723
       26d.5.       Mirae Asset Securities (USA), Inc.
                    810 7th Ave Fl 37
                    New York, NY 10019-5847
       26d.6.       Industrial and Commercial Bank of China
                    1633 Broadway
                    New York, NY 10019-6708
       26d.7.       Federal Housing Administration
                    451 7th St SW
                    Washington, DC 20410-0001
       26d.8.       Government National Mortgage Association
                    451 7th St SW Rm B-133
                    Washington, DC 20410-0001
       26d.9.       Federal National Mortgage Association
                    1700 Market St Ste 3100
                    Philadelphia, PA 19103-3901
       26d.10.      National Mortgage Licensing System
                    9237 Ward Pkwy Ste 300
                    Kansas City, MO 64114-3347

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                        Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                           or other basis) of each inventory

28. List the debtor’
                   s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8

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 Debtor      Live Well Financial, Inc.                                                                 Case number (if known) 19-11317-LSS



    control of the debtor at the time of the filing of this case.

       Name                                         Address                                              Position and nature of any interest   % of interest, if
                                                                                                                                               any
       Michael C. Hild (address on                                                                       President, CEO, Chairman of            54.88
       file)                                                                                             the Board, Shareholder

       Name                                         Address                                              Position and nature of any interest   % of interest, if
                                                                                                                                               any
       Stuart Cantor (address on                                                                         Board of Directors,                    1.40
       file)                                                                                             Shareholder

       Name                                         Address                                              Position and nature of any interest   % of interest, if
                                                                                                                                               any
       Glenwood L. Haddock                                                                               Chief Financial Officer, Vice         0
       (address on file)                                                                                 President



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

       Name                                         Address                                              Position and nature of any        Period during which
                                                                                                         interest                          position or interest
                                                                                                                                           was held
       Eric G. Rohr (address on                                                                          Chief Financial Officer,          12/2008 to
       file)                                                                                             Vice President                    12/2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient                   Amount of money or description and value of               Dates              Reason for providing
                                                              property                                                                     the value
       30.1 See Attachment 30
       .                                                      7,749,115.89                                              Various

              Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                           Employer Identification number of the parent
                                                                                                             corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                 Employer Identification number of the parent
                                                                                                             corporation


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9

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 Debtor      Live Well Financial, Inc.                                                                                    ...;;..;;....;;..;....;.;...=--------
                                                                                                     Case number(lfknownJ 19-11317-LSS



lifiiiM Signature and Declaration
      WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thi!Statement of FinanciBI Affairs and any attachments and have a reasonable belief that the information is true and
      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        September 91 2019

                                                                    Glenwood L. Haddock
 �����or                                                            Printed name

 Position or relationship to debtor     Vice President and CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Fonn 207) attached?
■  Yes




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Sollw11111 Copyrigrt (C) 2019 C� -www.cincompass.COOI
                                                           Case 19-11317-LSS              Doc 132   Filed 09/09/19    Page 17 of 86
Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                 In re Live Well Financial, Inc.
                                                                                                                                                       Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                       Dates      Total amount or value    Reasons for payment or transfer
A4 International, Inc. 2222 Michelson Dr., Suite 437 Irvine, CA 92612                                             03/21/2019              $7,191.88                 Vendor
A4 International, Inc. 2222 Michelson Dr., Suite 437 Irvine, CA 92612                                             03/21/2019              $7,191.87                 Vendor
                                                                                                          Total                          $14,383.75
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 03/21/2019              $1,446.50                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 03/21/2019              $1,505.20                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 03/21/2019              $1,480.74                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 03/21/2019              $1,505.20                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 04/17/2019              $1,505.20                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 04/17/2019              $1,505.20                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 05/08/2019              $1,505.20                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 05/08/2019              $1,505.20                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 05/08/2019                 $81.29                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 05/08/2019              $1,505.20                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 05/08/2019                $552.65                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 05/08/2019              $1,745.22                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 05/08/2019              $2,320.00                   Vendor
Accountemps 12400 Collections Center Drive Chicago, IL      60693                                                 05/17/2019              $1,793.36                   Vendor
                                                                                                          Total                          $19,956.16
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              03/21/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              03/21/2019                $224.06                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              03/21/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              03/21/2019                $213.73                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              03/21/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              03/21/2019                $134.36                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              03/21/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              03/21/2019                 $82.68                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              04/17/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              04/17/2019                $103.35                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019                $106.66                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019                $137.66                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019                 $17.36                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019                $155.03                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019                 $83.09                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019                $138.08                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019              $1,102.40                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019                $103.35                   Vendor
Ajilon Professional Staffing Dept CH 14031 Palatine, IL   60055-4031                                              05/08/2019                $973.97                   Vendor
                                                                                                          Total                          $15,702.18
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                $930.00                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                 $21.60                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                $960.00                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                 $21.60                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019              $1,364.00                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                 $21.60                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                $960.00                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                 $21.60                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019              $1,364.00                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                 $25.58                   Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           03/21/2019                 $21.87                   Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
                                                                                                                                                      Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                $924.19                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                 $21.47                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                $127.88                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                 $22.95                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                $621.94                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                 $14.45                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019              $5,812.50                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                 $51.15                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          03/21/2019                 $22.14                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          04/17/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          04/17/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          04/17/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          04/17/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          04/17/2019                $930.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          04/17/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,023.20                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $19.19                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.87                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $409.20                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $25.92                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $778.88                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $18.09                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $36.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $22.14                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,023.20                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $485.93                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $26.73                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,023.20                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $909.45                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $14.40                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $924.19                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.47                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,023.20                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $767.25                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $29.70                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $930.00                 Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
                                                                                                                                                      Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $104.63                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $23.22                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $6,864.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $6,864.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $930.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $145.31                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $23.85                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $420.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                   $9.45                Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,023.20                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $35.81                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $22.10                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $805.61                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $30.11                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $793.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $17.28                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $242.96                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $24.17                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $520.03                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                   $8.24                Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $830.80                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $18.09                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $971.85                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $31.86                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $242.96                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $24.17                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $930.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $136.59                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $23.72                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $891.25                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $20.70                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $992.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $133.18                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $23.53                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $242.96                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                   $2.57                Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,364.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $562.65                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $27.54                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $960.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $21.60                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019              $1,099.73                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $17.42                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                $818.40                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/08/2019                 $12.96                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/17/2019                $742.06                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/17/2019                 $17.24                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/17/2019                $756.40                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                          05/17/2019                 $16.47                 Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                 In re Live Well Financial, Inc.
                                                                                                                                                       Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                       Dates      Total amount or value    Reasons for payment or transfer
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           05/17/2019              $1,176.45                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           05/17/2019                 $18.63                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           05/17/2019                $756.00                 Vendor
AppleOne Employment Services Accounts Receivable P.O. Box 29048 Glendale, CA 91209-9048                           05/17/2019                 $17.01                 Vendor
                                                                                                          Total                          $78,181.29
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           03/21/2019                $300.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           03/21/2019                $150.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           04/17/2019                $300.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           04/17/2019                $600.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           04/17/2019                $900.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           04/17/2019                $600.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019              $1,200.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019              $1,200.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019                $600.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019                $100.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019                $300.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019                $450.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019                $300.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019                $600.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019                 $50.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           05/10/2019                $300.00                   Vendor
Arthur J. Gallagher, RMS 39735 Treasury Center Chicago, IL   60694-9700                                           06/07/2019                $150.00                   Vendor
                                                                                                          Total                           $8,100.00
Bank of Oklahoma                                                                                                  03/13/2019              $4,140.62       Unsecured Loan Repayments
Bank of Oklahoma                                                                                                  03/21/2019             $16,035.16       Unsecured Loan Repayments
Bank of Oklahoma                                                                                                  04/17/2019              $8,945.31       Unsecured Loan Repayments
                                                                                                          Total                          $29,121.09
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019              $4,682.72                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019                $500.00                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019              $6,000.00                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019              $1,000.00                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019              $1,000.00                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019                $500.00                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019              $3,644.00                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019              $1,500.00                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019              $4,500.00                   Vendor
Baseline Analytics, LLC 450 State Rd 13 North #328 St. Johns, FL 32259                                            04/17/2019              $4,000.00                   Vendor
                                                                                                          Total                          $27,326.72
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                        03/21/2019                $125.00                   Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      03/21/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
Bay Docs, Inc. 890 Lamont Avenue Suite 101 Novato CA 94945                                                      04/17/2019                $125.00                 Vendor
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                                                    Case 19-11317-LSS                Doc 132       Filed 09/09/19   Page 23 of 86
Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
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                                                    Case 19-11317-LSS                Doc 132       Filed 09/09/19   Page 24 of 86
Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


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                                                      Case 19-11317-LSS              Doc 132       Filed 09/09/19    Page 25 of 86
Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
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                                                                                                         Total                          $35,625.00
Bayard, P. A. 600 North King St. Suite 400 Wilmington, DE 19801                                                  05/22/2019             $75,000.00                   Vendor
Bayard, P. A. 600 North King St. Suite 400 Wilmington, DE 19801                                                  05/29/2019              $3,315.00                   Vendor
Bayard, P. A. 600 North King St. Suite 400 Wilmington, DE 19801                                                  05/29/2019             $49,182.60                   Vendor
                                                                                                         Total                         $127,497.60
BB&T Item Processing Center P O Box 580050 Charlotte, NC 28258-0050                                              03/18/2019                $849.61       Unsecured Loan Repayments
BB&T Item Processing Center P O Box 580050 Charlotte, NC 28258-0050                                              04/10/2019             $20,429.69       Unsecured Loan Repayments




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                                                        Case 19-11317-LSS                    Doc 132   Filed 09/09/19    Page 26 of 86
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                                                                                                                                                          Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                          Dates      Total amount or value    Reasons for payment or transfer
BB&T Item Processing Center P O Box 580050 Charlotte, NC 28258-0050                                                  04/15/2019                $917.97      Unsecured Loan Repayments
BB&T Item Processing Center P O Box 580050 Charlotte, NC 28258-0050                                                  04/17/2019              $7,089.84      Unsecured Loan Repayments
BB&T Item Processing Center P O Box 580050 Charlotte, NC 28258-0050                                                  05/09/2019             $27,207.02      Unsecured Loan Repayments
                                                                                                             Total                          $56,494.13
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019              $2,312.50                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019                $205.23                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019                $127.50                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019                $127.50                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019                $127.50                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019                 $33.96                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019              $4,994.27                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019              $4,994.27                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019                 $66.59                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019                 $44.39                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             04/17/2019                $787.99                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019                $100.00                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019                   $8.88                 Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019              $4,945.06                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019              $4,945.05                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019                 $65.93                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019                 $43.96                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019                $906.25                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019                 $63.75                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019                 $63.75                  Services
Bloomberg Finance LP PO Box 416604 Boston, MA 02241-6604                                                             05/10/2019                 $63.75                  Services
                                                                                                             Total                          $25,028.08
Bluestone Analytics 600 East Water Street, Suite E Charlottesville, VA 22902                                         03/21/2019              $5,000.00                   Vendor
Bluestone Analytics 600 East Water Street, Suite E Charlottesville, VA 22902                                         03/21/2019              $2,000.00                   Vendor
Bluestone Analytics 600 East Water Street, Suite E Charlottesville, VA 22902                                         05/01/2019              $5,000.00                   Vendor
Bluestone Analytics 600 East Water Street, Suite E Charlottesville, VA 22902                                         05/01/2019              $2,000.00                   Vendor
                                                                                                             Total                          $14,000.00
Brett Rome c/o North Hill Ventures, II LP 535 Boylston Street, 6th Floor Boston, MA 02116                            03/25/2019             $35,423.21       Unsecured Loan Repayments
                                                                                                             Total                          $35,423.21
Bruce Barnes 4410 Calle Mar De Armonia San Diego, CA      92130                                                      04/26/2019                $878.00          Other Employee Related
Bruce Barnes 4410 Calle Mar De Armonia San Diego, CA      92130                                                      04/26/2019                $180.12          Other Employee Related
Bruce Barnes 4410 Calle Mar De Armonia San Diego, CA      92130                                                      04/26/2019                $229.97          Other Employee Related
Bruce Barnes 4410 Calle Mar De Armonia San Diego, CA      92130                                                      04/26/2019                 $42.30          Other Employee Related
Bruce Barnes 4410 Calle Mar De Armonia San Diego, CA      92130                                                      05/30/2019              $8,871.22          Other Employee Related
                                                                                                             Total                          $10,201.61
Bruch Hanna LLP 1099 New York Ave., NW, Suite 500 Washington, DC 20001                                               03/21/2019             $38,605.71                   Vendor
Bruch Hanna LLP 1099 New York Ave., NW, Suite 500 Washington, DC 20001                                               03/21/2019            $235,892.46                   Vendor
                                                                                                             Total                         $274,498.17
Compu-Link Corp. d/b/a Celink                                                                                        04/30/2019             $54,431.14                   Vendor
Compu-Link Corp. d/b/a Celink                                                                                        05/31/2019             $55,544.98                   Vendor
Compu-Link Corp. d/b/a Celink                                                                                        03/31/3019             $51,611.16                   Vendor
                                                                                                             Total                         $161,587.28
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019             $34,530.54                   Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019             $18,249.16                   Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019             $16,722.82                   Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019             $10,129.21                   Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019              $2,611.22                   Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019              $1,096.42                   Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019              $1,585.06                   Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                $825.01                   Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019              $2,643.69                   Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                    In re Live Well Financial, Inc.
                                                                                                                                                          Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                          Dates      Total amount or value    Reasons for payment or transfer
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019              $1,514.45                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019              $1,582.37                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                $887.87                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                $190.14                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                 $95.08                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                 $34.10                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                 $87.74                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                $439.96                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                $217.57                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                $211.28                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                $122.62                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                 $19.51                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                   $6.17                Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       03/21/2019                 $18.28                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019             $36,230.35                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019             $19,567.38                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019             $18,079.81                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019             $11,043.81                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019              $2,749.08                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019              $1,374.54                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $474.03                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019              $1,375.12                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019              $2,755.09                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019              $1,623.70                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019              $1,694.16                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019              $1,005.56                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $200.18                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $100.09                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $397.04                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                 $28.24                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $100.09                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $477.23                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $235.56                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $228.80                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                $176.54                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                 $20.54                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                 $20.54                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                   $6.37                Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       04/17/2019                 $20.54                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019             $35,267.32                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019             $19,937.73                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019             $16,983.94                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019             $12,432.89                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019              $2,651.97                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019              $2,705.83                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019              $1,655.46                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019              $1,523.34                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019              $1,067.19                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019                $193.11                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019                $465.14                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019                $251.94                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019                $208.42                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019                $187.35                 Vendor
Cigna Healthcate Wells Fargo 1700 Lincoln Street, Lower Level 3 Lock Box # 59 Denver, CO 80274                       05/17/2019                 $19.82                 Vendor
                                                                                                             Total                         $289,356.11




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                                     In re Live Well Financial, Inc.
                                                                                                                                                                           Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                                           Dates      Total amount or value    Reasons for payment or transfer
Cole Schotz P.C. Court Plaza North 25 Main St., P.O. Box 800 Hackensack, NJ 07602-0800                                                03/21/2019              $17,056.48                Vendor
Cole Schotz P.C. Court Plaza North 25 Main St., P.O. Box 800 Hackensack, NJ 07602-0800                                                05/06/2019               $3,078.50                Vendor
                                                                                                                              Total                           $20,134.98
COMCAST PO BOX 37601 PHILADELPHIA, PA 19101-0601                                                                                      03/21/2019               $3,750.99                 Services
COMCAST PO BOX 37601 PHILADELPHIA, PA 19101-0601                                                                                      05/01/2019               $3,732.92                 Services
COMCAST PO BOX 37601 PHILADELPHIA, PA 19101-0601                                                                                      05/17/2019               $3,732.92                 Services
                                                                                                                              Total                           $11,216.83
Comergence Compliance Monitoring, LLC Dept 3232 PO Box 12 3232 Dallas, TX 75312-3232                                                  03/21/2019               $7,548.50                  Vendor
Comergence Compliance Monitoring, LLC Dept 3232 PO Box 12 3232 Dallas, TX 75312-3232                                                  04/17/2019               $8,160.00                  Vendor
                                                                                                                              Total                           $15,708.50
Compass Analytics LLC 580 California St., Suite 1725 San Francisco, CA 94104                                                          03/21/2019               $5,750.00                  Vendor
Compass Analytics LLC 580 California St., Suite 1725 San Francisco, CA 94104                                                          03/28/2019               $5,750.00                  Vendor
                                                                                                                              Total                           $11,500.00
Credit Plus, Inc. 15365 Collections Center Drive Chicago,   IL   60693                                                                03/21/2019               $6,165.40                  Vendor
Credit Plus, Inc. 15365 Collections Center Drive Chicago,   IL   60693                                                                03/21/2019               $3,488.10                  Vendor
Credit Plus, Inc. 15365 Collections Center Drive Chicago,   IL   60693                                                                03/21/2019               $1,465.72                  Vendor
Credit Plus, Inc. 15365 Collections Center Drive Chicago,   IL   60693                                                                03/21/2019                 $689.53                  Vendor
Credit Plus, Inc. 15365 Collections Center Drive Chicago,   IL   60693                                                                04/05/2019                   $0.00                  Vendor
Credit Plus, Inc. 15365 Collections Center Drive Chicago,   IL   60693                                                                04/05/2019                   $0.00                  Vendor
                                                                                                                              Total                           $11,808.75
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             03/22/2019               $3,123.01              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             03/22/2019            $360,869.48               Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             03/22/2019                 $626.61              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             03/22/2019              $10,380.90              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/08/2019            $109,249.13               Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/08/2019              $98,903.19              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/09/2019                 $635.59              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/10/2019               $3,142.54              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/11/2019            $129,603.54               Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/11/2019                 $608.15              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/11/2019            $221,604.16               Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/11/2019                 $626.55              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/11/2019               $7,161.14              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/12/2019                 $626.67              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/13/2019               $4,214.23              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/17/2019                -$940.75              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/17/2019            $106,659.19               Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/17/2019                 $626.74              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/17/2019               $3,654.82              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/22/2019                -$834.49              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/22/2019            $338,394.92               Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/22/2019                 $600.00              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/22/2019              $11,839.57              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/30/2019              -$2,175.59              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/30/2019              $96,725.41              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/30/2019                 $626.67              Secured Debt
Customers Bank Attn:   Lenee Miller 3705 Quakerbridge Road Suite 100 Hamilton, NJ   08619                                             04/30/2019               $3,523.51              Secured Debt
                                                                                                                              Total                        $1,510,074.89
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           03/12/2019               $8,060.35    Other Mortgage Insurance Premium
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           04/01/2019               $6,020.00    Other Mortgage Insurance Premium
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           04/15/2019               $1,593.31    Other Mortgage Insurance Premium
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           04/15/2019               $1,520.66    Other Mortgage Insurance Premium
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           04/15/2019                 -$10.66    Other Mortgage Insurance Premium
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           04/15/2019                 -$82.18    Other Mortgage Insurance Premium
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           05/01/2019               $2,349.53    Other Mortgage Insurance Premium




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                                     In re Live Well Financial, Inc.
                                                                                                                                                                           Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                                           Dates      Total amount or value    Reasons for payment or transfer
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           05/01/2019                 $37.95     Other Mortgage Insurance Premium
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           05/10/2019              $1,415.00     Other Mortgage Insurance Premium
Department of Veteran Affairs Administrative & Loan Accounting Center (105/241A) 1615 Woodward Street Austin, TX 78772-0001           05/10/2019                   $6.25    Other Mortgage Insurance Premium
                                                                                                                              Total                          $20,910.21
Document Systems, Inc. 1800 W 213 Street Torrance, CA. 90501                                                                          03/21/2019              $2,959.70                   Vendor
Document Systems, Inc. 1800 W 213 Street Torrance, CA. 90501                                                                          03/21/2019                 $10.00                   Vendor
Document Systems, Inc. 1800 W 213 Street Torrance, CA. 90501                                                                          04/17/2019              $4,406.86                   Vendor
Document Systems, Inc. 1800 W 213 Street Torrance, CA. 90501                                                                          04/17/2019                 $10.00                   Vendor
                                                                                                                              Total                           $7,386.56
Dorsey & Whitney LLP                                                                                                                  06/06/2019             $15,000.00                   Vendor
                                                                                                                              Total                          $15,000.00
Double Positive Marketing Group, Inc. 62865 Collection Center Drive Chicago, IL 60693-0628                                            03/22/2019             $14,670.00                   Vendor
Double Positive Marketing Group, Inc. 62865 Collection Center Drive Chicago, IL 60693-0628                                            03/22/2019             $14,670.00                   Vendor
                                                                                                                              Total                          $29,340.00
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       03/21/2019             $14,173.24                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       03/21/2019                $425.20                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       03/21/2019              $3,992.31                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       03/21/2019                $119.77                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       03/21/2019              $2,467.00                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       03/21/2019                 $74.01                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       04/17/2019              $3,653.74                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       04/17/2019                $109.61                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019              $3,992.31                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019                $119.77                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019                $822.50                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019                 $24.68                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019              $2,467.00                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019                 $74.01                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019                $822.50                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019                 $24.68                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019              $2,467.00                   Vendor
Electronic Systems Inc. PO Box 603065 Charlotte, NC. 28260-3065                                                                       05/10/2019                 $74.01                   Vendor
                                                                                                                              Total                          $35,903.34
Fannie Mae Attn: Lockbox 403207 6000 Feldwood Road College Park,     GA 30349                                                         03/21/2019             $14,648.44       Unsecured Loan Repayments
Fannie Mae Attn: Lockbox 403207 6000 Feldwood Road College Park,     GA 30349                                                         04/10/2019              $9,199.22       Unsecured Loan Repayments
Fannie Mae Attn: Lockbox 403207 6000 Feldwood Road College Park,     GA 30349                                                         04/17/2019              $9,140.63       Unsecured Loan Repayments
Fannie Mae Attn: Lockbox 403207 6000 Feldwood Road College Park,     GA 30349                                                         05/21/2019             $17,675.78       Unsecured Loan Repayments
                                                                                                                              Total                          $50,664.07
First American Mortgage Solutions PO Box 31001-2268 Pasadena, CA 91110-2268                                                           03/21/2019              $7,332.10                   Vendor
                                                                                                                              Total                           $7,332.10
FIRST Insurance Funding Corp. P O Box 7000 Carol Stream, IL 60197-7000                                                                03/21/2019             $16,912.17                   Vendor
FIRST Insurance Funding Corp. P O Box 7000 Carol Stream, IL 60197-7000                                                                04/26/2019             $16,912.17                   Vendor
FIRST Insurance Funding Corp. P O Box 7000 Carol Stream, IL 60197-7000                                                                06/04/2019              $9,358.16                   Vendor
                                                                                                                              Total                          $43,182.50
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019             $20,465.27               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019            $188,316.67               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019                $324.36               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019                 $75.00               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019            $161,378.86               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019                $185.29               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019                 $75.00               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019            $208,871.00               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019                $389.76               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019                 $75.00               Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                                                  03/12/2019             $17,808.35               Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/12/2019            $126,369.57             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/12/2019                 $237.81            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019              $24,355.14            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019            $164,415.58             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019                 $306.83            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019            $453,375.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019                 $455.75            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019            $129,328.87             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019                 $130.01            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019             -$40,244.25            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019              $40,161.86            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/13/2019                  $82.39            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019               $1,163.87            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $141,683.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $203.38            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019              $83,326.71            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $119.61            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $102,228.92             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $117.44            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $118,188.89             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $169.66            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $272,205.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $312.70            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $129,525.07             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $148.79            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $152,603.08             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $219.06            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $154,397.95             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $221.63            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019              $85,763.96            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $123.11            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $319,537.03             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $275.39            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $212,719.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $244.36            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019              $37,542.45            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $32.36            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019              $17,734.09            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $15.28            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                  $75.00            Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019             $38,300.44             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $49.49             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $198,280.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $227.78             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019             $57,563.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $49.61             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $217,441.46             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $187.40             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $184,137.86             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $185.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019             $79,021.58             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $79.45             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $362,945.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $364.92             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $107,317.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $154.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $238,797.43             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $308.56             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019             $87,563.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $100.59             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $132,075.35             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $170.66             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $239,614.21             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $343.96             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019            $149,969.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                $150.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/15/2019              $5,240.19             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/15/2019            $164,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/15/2019                $494.31             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/15/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/15/2019             $59,414.96             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/15/2019                 $34.12             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/15/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019             $12,560.73             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019            $199,323.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019                $400.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019            $225,401.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019                $614.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019             $64,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019                 $55.09             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/18/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/19/2019              $7,922.22             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/19/2019            $245,471.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/19/2019                $493.12             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/19/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/19/2019                $196.59             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/21/2019             -$2,880.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/21/2019              $2,613.55             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/21/2019                $167.13             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/21/2019                $100.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019             $30,730.39             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019            $223,878.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                $288.98             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019            $380,174.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                $763.82             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019            $131,300.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                $169.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019            $114,500.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                $131.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019            $137,750.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                $177.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/22/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/26/2019              $3,646.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/26/2019            $240,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/26/2019                $516.56             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/26/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019              $2,098.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $164,281.83             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $353.58             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $52,517.07             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $113.03             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $176,415.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $379.70             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $19,422.70             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $41.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $70,896.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $142.39             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $119,540.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $240.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $199,301.75             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $400.29             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $26,018.82             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $56.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $102,997.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $206.87             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $39,544.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $85.11             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $224,926.97             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $484.11             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $141,172.88             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $283.54             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $231,459.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $464.88             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $35,551.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $76.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $154,116.39             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $309.54             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $216,518.45             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $403.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $124,077.89             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $249.21             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $195,789.60             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $365.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $386,990.65             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $832.92             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $66,874.07             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $76.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $19,077.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $35.58             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $301,433.97             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $346.11             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $26,827.39             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $50.03             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $98,766.84             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $184.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $150,477.17             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $151.19             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $87,595.90             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $113.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $129,241.72             Secured Debt




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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $278.17             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $191,211.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $192.11             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $120,014.22             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $137.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $83,369.08             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $83.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $126,971.83             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $145.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $391,827.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $730.74             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $62,545.58             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $80.78             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $64,770.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $83.65             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $158,417.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $204.61             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $114,968.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $148.49             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019            $200,578.49             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $230.31             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019             $93,461.98             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                $201.16             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/27/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019             -$9,113.34             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019              $4,724.89             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019                $420.16             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019              $3,581.61             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019                $386.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019             $17,215.26             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019            $184,697.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019                $371.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019            $480,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019                $688.93             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/28/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019             -$1,843.33             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019            $155,101.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                $742.28             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019             $44,832.12             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019            $187,336.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                $591.59             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019            $187,525.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                $430.56             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019            $189,504.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                $217.70             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019             $57,822.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $33.24             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019            $178,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                $230.02             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019            $181,111.57             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                $182.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019            $164,070.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $94.32             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            03/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/01/2019              $4,904.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/01/2019            $149,150.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/01/2019                $107.26             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/01/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/02/2019              $2,928.85             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/02/2019            $101,642.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/02/2019                $116.91             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/02/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/04/2019              $6,857.55             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/04/2019             $85,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/04/2019                 $73.29             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/04/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/04/2019             $95,391.97             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/04/2019                 $82.25             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/04/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/04/2019             $13,897.59             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/05/2019             $82,884.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/05/2019             $12,076.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/05/2019             -$1,937.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/05/2019            $211,792.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/05/2019                $144.74             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/06/2019                 $42.51             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/06/2019            $262,500.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/07/2019                $150.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $39,222.53             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $199,118.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $971.57             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $210,299.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,026.13             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $311,052.34             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,249.86             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $263,724.92             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,059.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $144,487.03             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $580.57             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $22,414.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $90.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $145,785.85             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $585.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $38,358.26             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $148.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $115,977.45             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $466.02             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $134,831.78             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $483.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $160,909.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $577.22             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $84,358.32             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $302.61             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $101,535.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $291.46             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $434,931.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,310.82             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $429,417.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,478.85             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $176,422.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $531.71             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $132,981.98             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $381.73             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $25,548.16             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $87.98             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $96,213.84             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $345.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $62,149.72             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $178.40             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $106,532.65             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $290.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $35,344.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $96.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $122,379.19             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $351.29             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $66,366.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $190.51             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $153,534.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $418.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $355,154.31             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,019.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $77,657.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $211.77             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $104,569.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $375.12             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $26,754.55             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $65.28             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $38,667.03             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $183.13             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $21,719.87             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $105.98             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $83,093.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $405.45             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $237,121.92             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $952.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $84,202.16             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $229.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $33,238.74             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $128.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $140,627.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $544.87             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $228,747.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,247.46             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $347,670.88             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,347.08             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $213,238.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $979.34             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $208,047.23             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $985.31             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $64,828.02             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $167.49             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $146,786.07             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $421.35             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $119,187.60             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $307.93             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $72,005.07             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $175.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $115,473.53             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $314.90             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $329,306.33             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,512.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $412,799.28             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,540.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $161,443.85             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $440.26             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $252,434.01             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $869.35             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $389,855.60             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,398.51             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $360,109.55             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,808.73             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $230,275.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $793.04             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $148,518.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $682.10             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $117,231.57             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $403.73             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $97,817.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $336.87             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $153,902.22             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $419.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $92,251.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $225.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $190,478.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $546.77             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $416,994.90             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019              $1,077.32             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $161,813.17             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $278.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019             $15,649.30             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $291,541.94             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $348.37             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019            $197,577.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/08/2019                $230.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019             $29,564.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $291,352.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $292.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $370,772.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019              $1,064.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $146,650.50             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $526.02             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019             $68,832.03             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $246.89             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $122,859.92             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $246.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019             $77,683.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $156.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $119,656.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $223.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $272,005.18             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $741.65             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $365,421.23             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $681.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $298,544.83             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $642.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019             $47,069.01             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $94.56             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $289,651.83             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $498.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019             $63,682.59             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $118.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $173,195.97             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $273.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $273,025.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $548.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $154,875.89             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $266.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019             $98,030.99             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $154.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $195,899.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $309.10             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $150,319.11             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $258.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $191,004.42             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $328.84             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $277,641.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $478.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $254,858.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $292.12             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $134,101.97             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $153.71             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019             $59,309.66             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $93.58             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $222,882.56             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $351.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $120,093.46             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $206.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $176,826.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $279.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $209,327.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $330.28             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $349,055.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $751.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $430,468.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $741.11             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019            $239,803.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                $378.37             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/09/2019              $3,510.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/10/2019             $62,555.65             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/10/2019             $10,002.45             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/10/2019            $219,942.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/10/2019                $410.18             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $85.42             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $153,807.05             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $117,826.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $574.86             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $233,516.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $569.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $294,566.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019              $1,479.45             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $218,762.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $533.65             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019             $89,351.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $384.60             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $322,059.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $785.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $150.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $361,681.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $726.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $310,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019              $1,067.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $218,862.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019              $1,067.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $413,105.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019              $1,718.74             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $410,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $764.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $169,349.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $656.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $129,117.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $259.31             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $107,409.50             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $539.46             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $121,031.54             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $225.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $414,322.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019              $1,426.77             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $262,016.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $902.29             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $200,673.35             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $575.88             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $481,664.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $898.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $322,635.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019              $1,018.49             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $289,315.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $622.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $283,210.04             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $528.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019            $472,405.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                $880.83             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/11/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/12/2019              $2,877.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/12/2019            $206,400.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/12/2019                $206.91             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/12/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/12/2019             -$5,654.04             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/12/2019            $122,069.99             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/12/2019                $229.21             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/15/2019              $9,900.89             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/15/2019            $484,350.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/15/2019                $762.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/15/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/15/2019                $790.93             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/15/2019             $52,084.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/15/2019                $124.44             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019             $31,526.02             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019            $387,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019              $1,054.25             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019            $333,819.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                $621.37             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019            $221,979.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                $413.19             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019            $177,721.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                $381.88             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019            $172,975.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                $346.82             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019             $92,536.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                 $79.51             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/17/2019              $3,662.21             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/17/2019            $221,900.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/17/2019                $381.23             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/17/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019              $3,926.08             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019            $286,243.56             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                $830.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019             $27,836.69             Secured Debt




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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019            $618,385.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                $885.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019            $250,500.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                $322.88             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019            $143,910.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                $144.23             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019            $280,500.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                $240.91             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/18/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/19/2019              $3,324.90             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/19/2019            $311,200.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/19/2019                $401.17             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/19/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/19/2019                $316.30             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019                $692.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019             $49,156.32             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019                $151.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019              $1,869.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019              $5,801.25             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019              $5,404.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019              $1,513.55             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019              $2,744.50             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019            $192,475.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019                $689.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019              $7,406.21             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019             $68,849.08             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019                $108.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019            $142,200.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019                $142.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/22/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/23/2019              $7,558.24             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/23/2019            $158,286.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/23/2019                $340.11             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/23/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/23/2019             $85,978.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/23/2019                $147.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/23/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019             -$1,712.77             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019            $141,158.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019                $554.10             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019             $23,305.14             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019            $216,719.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019                $279.50             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019            $466,371.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019                $935.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/24/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019             $21,898.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019            $133,438.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                $267.60             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                 $75.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019            $269,920.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                $309.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019            $208,961.66             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                $419.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019            $159,164.17             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                $319.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019            $282,901.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                $607.92             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019            $120,896.13             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                $242.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/25/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/26/2019              $1,458.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/26/2019            $118,057.65             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/26/2019                $483.56             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/26/2019                $500.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019             $28,053.07             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019            $139,406.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                $279.65             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019            $417,302.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                $837.10             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019             $65,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $55.88             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019            $228,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                $195.99             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019             $41,730.53             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $41.85             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019             $75,852.39             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $76.08             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/29/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019             $43,341.78             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019            $101,877.10             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019                $189.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019            $535,704.30             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019                $383.83             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019            $650,750.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019                $745.96             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            04/30/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019             $15,134.23             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019            $120,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019                $206.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019            $231,725.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019              $1,661.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019                 $75.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019             $39,310.85             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019                 $168.97            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019            $176,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019                 $353.14            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/01/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019              $6,973.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019            $145,598.55             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019                 $208.66            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019            $300,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019                 $429.94            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019            $150,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019                 $150.49            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019            $186,400.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019                 $267.13            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/03/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019              $4,512.72             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019              $8,070.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019                   $6.88            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019             $10,127.70             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019            $203,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019                 $203.47            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019            $209,920.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019                 $360.77            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019            $146,500.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019                 $146.84            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/06/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/07/2019              $7,408.56             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/07/2019            $415,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/07/2019                 $356.24            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/07/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019             $28,276.93             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019            $259,462.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                 $483.43            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019            $270,019.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019              $1,896.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019            $221,732.89             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                 $253.83            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019            $422,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                 $543.60            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                -$576.67            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019             $27,149.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/08/2019                  $32.39            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019             $10,470.97             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $417,500.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $477.68            Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $263,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $338.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019             $62,056.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $213.28             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019             $59,569.03             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $204.74             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019             $34,989.01             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $120.26             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $229,822.88             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $756.97             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $118,857.90             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $391.49             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $162,177.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $534.17             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019             $26,523.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $87.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $110,200.42             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $426.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $232,688.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $766.41             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $326,714.87             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $982.54             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $198,049.54             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $680.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $328,526.07             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019              $1,035.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $337,852.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019              $1,161.18             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019            $234,426.11             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                $671.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/09/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $32,929.44             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $200,345.15             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $831.84             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $327,094.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,311.23             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $64,106.84             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $256.99             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $77,393.64             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $332.44             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $123,597.91             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $495.47             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $64,590.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $286.70             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $110,788.42             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $253.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $221,378.55             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $570.36             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $314,709.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $810.82             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $77,046.40             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $330.95             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $76,946.29             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $418.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $167,573.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $911.82             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $111,325.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $478.19             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $129,087.78             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $535.98             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $292,586.59             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,256.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $378,793.85             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,138.78             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $109,784.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $455.83             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $166,264.23             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $666.50             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $580,133.43             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,411.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $353,937.37             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,520.32             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $65,592.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $103.21             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $337,920.06             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,354.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $290,456.25             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,205.99             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $333,736.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,481.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $145,192.91             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $353.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $133,274.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $266.98             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $249,672.32             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019              $1,072.45             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $134,629.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $211.83             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $247,760.22             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $496.31             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $327,115.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $842.78             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $115,087.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $181.09             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $442,733.98             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $950.37             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019            $248,912.91             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $391.66             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $10,421.07             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $55,464.86             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $75.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                $929.35             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019             $22,425.28             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/10/2019                 $34.38             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019             -$9,393.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019             $75,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019                $182.32             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019            $393,905.87             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019              $1,747.52             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019            $173,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019                $346.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019            $274,550.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019                $510.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/13/2019                 $75.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/14/2019             -$2,360.13             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/14/2019             $76,800.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/14/2019                $142.60             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/14/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/14/2019             $49,507.79             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/14/2019            $655,956.28             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/14/2019              $1,451.58             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019             $17,165.04             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019            $178,266.54             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019                $381.92             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019            $258,320.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019              $1,552.48             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019            $299,514.69             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019              $1,499.89             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/15/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019             $26,810.27             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $165,980.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                $664.63             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $154,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                $373.89             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $237,689.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019              $1,394.18             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $144,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                $328.97             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $262,840.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019              $1,165.40             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $555,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019              $1,824.57             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $168,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019              $1,057.68             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $153,174.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                $986.35             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $435,725.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019              $1,931.95             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019             $92,918.84             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                $465.20             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $101,546.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                $450.24             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019             $78,452.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                $224.19             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $75.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $201,286.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $430.97            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019             $22,587.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019            $167,042.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/16/2019                 $482.41            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/17/2019             $11,165.76             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/17/2019            $410,237.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/17/2019              $2,170.91             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/17/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019             $15,065.61             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019            $284,750.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019                 $812.43            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019            $292,863.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019              $1,758.60             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019            $370,609.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019              $2,013.05             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019            $270,019.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019              $1,466.67             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/20/2019                 $341.61            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/21/2019                -$772.74            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/21/2019            $275,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/21/2019                 $784.28            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/21/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/22/2019             -$3,538.37             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/22/2019            $335,874.93             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/22/2019              $1,438.81             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/22/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/23/2019              $2,618.62             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/23/2019            $162,979.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/23/2019                 $791.36            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/23/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/24/2019             $14,164.71             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/24/2019            $352,360.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/24/2019              $2,265.72             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/24/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/24/2019            $326,617.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/24/2019              $1,070.66             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/24/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/29/2019             -$2,588.19             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/29/2019             $12,632.73             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/29/2019            $376,475.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/29/2019              $1,878.86             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/29/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/29/2019            $330,966.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/29/2019              $1,367.21             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/29/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/30/2019            $105,000.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/30/2019              $3,330.22             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/30/2019            $221,500.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/30/2019              $1,390.80             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                            05/30/2019                  $75.00            Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
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Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019                 $403.79            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019              $11,208.42            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019            $303,510.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019               $2,209.67            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019            $412,520.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019               $2,885.02            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019            $221,306.00             Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019               $1,008.80            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             05/31/2019                  $75.00            Secured Debt
First Tennessee Bank 165 Madison Avenue, Memphis, TN                                                             06/01/2019                  $75.00            Secured Debt
                                                                                                         Total                       $73,709,378.85
Five Elms Equity Fund I, LP 4801 Main Street, Suite 700 Kansas City, MO 64112                                    03/25/2019              $27,284.19      Unsecured Loan Repayments
                                                                                                         Total                           $27,284.19
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            03/15/2019                  $50.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                   $7.29              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019              $95,525.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                 $238.04              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019            $110,709.00               Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                 $260.57              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019            $145,993.00               Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                 $343.61              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019            $181,154.00               Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                 $451.43              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/08/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019              $22,257.43              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019            $122,107.00               Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                 $219.84              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019            $105,025.00               Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                 $160.05              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019              $95,756.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                 $106.18              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019              $92,470.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $89.72              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019              $46,315.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $70.58              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019            $229,758.00               Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                 $350.13              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019            $151,574.00               Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                 $293.89              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019              $95,054.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $92.23              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019                  $45.00              Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                            04/09/2019            $394,439.00               Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
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Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $655.65             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $265,405.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $441.16             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $175,718.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $267.77             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $254,208.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $422.55             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $232,695.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $451.17             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $229,473.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $381.44             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $196,932.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $490.80             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $155,107.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $257.82             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $149,069.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $392.13             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $348,774.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $531.49             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $204,626.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $425.05             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $140,992.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $253.86             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $129,360.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $215.03             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019             $95,814.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $92.97             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019             $84,784.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $164.39             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019             $61,191.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $93.25             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019             $27,747.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $57.64             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $259,107.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $394.85             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $194,969.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $512.88             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $192,164.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $399.17             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $191,872.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $398.56             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $142,429.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $295.86             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $112,288.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $217.71             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $375,963.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $364.79             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $305,575.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $296.49             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $200,056.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $332.54             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $193,615.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $482.53             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $157,773.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $327.73             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $134,928.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $280.28             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019            $129,081.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $232.42             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019             $78,880.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                $163.85             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/15/2019                 $20.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                  -$3.55            Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $24,941.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $44.94             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $29,737.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $53.58             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $35,057.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $34.02             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $44,522.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $80.23             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $53,771.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $52.17             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $54,302.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $82.80             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $58,362.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $56.63             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $65,955.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $63.99             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $98,814.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $178.06             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $167,328.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $185.55             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $193,562.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $187.81             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $200,742.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $361.73             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $306,814.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $552.86             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $334,091.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $370.47             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $345,351.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $382.96             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $55,425.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $61.46             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $88,442.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $159.37             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $95,419.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $158.71             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $98,170.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $176.90             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019             $98,573.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $163.96             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $144,541.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $240.42             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $495,219.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $823.71             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $112,838.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $172.05             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $142,497.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $256.77             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $315,317.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $568.18             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $352,718.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $342.23             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019            $396,116.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                $658.87             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019             $14,085.60             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $115,093.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $350.97             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $125,320.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $295.30             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $143,546.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $139.28             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $155,338.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $473.69             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $157,643.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $152.96             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $159,605.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $353.97             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $174,154.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $168.98             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $304,370.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $253.13             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019            $334,278.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                $370.68             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           04/25/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/06/2019              $9,065.57             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/06/2019            $274,428.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/06/2019                $265.89             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/06/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/08/2019             $11,602.64             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/08/2019            $359,370.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/08/2019                $397.80             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/08/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/08/2019            $331,650.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/08/2019                $367.12             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/08/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019              $5,823.71             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019             $63,105.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $192.29             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019             $94,440.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $274.69             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019            $109,870.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $319.57             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019            $134,914.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $373.71             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019            $255,030.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $741.78             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019            $189,510.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $551.21             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019            $196,478.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $571.48             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019            $213,023.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $649.13             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019            $164,573.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                $455.87             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/09/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $86,187.70             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $23,983.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $49.81             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $425,585.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $588.84             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $33,552.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $78.98             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $35,408.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $78.44             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $48,750.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $236.38             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $60,790.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $117.81             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $62,929.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $139.41             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $63,710.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $273.60             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $71,181.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $88.62             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $80,130.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $99.76             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $84,909.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $164.56             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $91,358.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $227.71             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $97,704.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $148.73             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $98,432.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $204.41             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $105,328.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $262.53             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $105,432.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $131.26             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $107,131.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $163.08             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $112,553.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $155.73             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $115,909.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $176.44             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $120,459.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $250.15             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $123,890.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $308.80             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $125,018.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $276.95             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $126,950.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $545.18             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $127,654.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $282.79             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $131,117.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $290.46             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $133,756.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $314.85             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $141,402.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $156.48             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $156,630.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $195.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $157,694.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $305.62             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $158,977.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $374.21             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $163,107.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $361.33             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $169,347.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $210.84             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $170,580.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $212.37             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $171,204.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $260.61             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $177,884.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $862.54             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $178,236.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $246.61             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $183,818.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $203.43             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $185,430.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $950.53             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $189,131.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $366.55             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $194,951.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $999.34             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $196,623.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $435.57             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $198,847.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019              $1,019.31             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $200,990.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $250.23             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $202,969.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $421.50             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $206,329.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019              $1,029.07             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $213,928.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019              $1,037.31             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $230,877.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019              $1,023.49             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $246,132.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $340.55             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $272,180.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $678.41             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $273,975.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $682.88             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $277,609.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019              $1,384.57             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $329,767.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019              $1,461.88             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $330,387.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $640.31             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019            $401,610.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                $834.01             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019             $27,622.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $34.39             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/10/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/14/2019             -$1,575.61             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/14/2019            $421,740.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/14/2019                $816.89             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/14/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/15/2019              $6,917.47             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/15/2019            $277,412.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/15/2019                $614.16             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/15/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/16/2019              $4,806.34             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/16/2019            $158,400.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/16/2019                $284.86             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/16/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/17/2019             $10,368.88             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/17/2019            $277,630.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/17/2019                $652.97             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/17/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/20/2019             $11,667.90             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/20/2019            $475,083.18             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/20/2019              $1,314.53             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/20/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019             $30,796.87             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019            $215,593.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019                $715.83             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019            $257,400.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019                $854.64             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019            $432,135.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019              $1,434.81             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019                 $45.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019            $291,922.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                           05/24/2019                $969.26             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                  In re Live Well Financial, Inc.
                                                                                                                                                        Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                        Dates      Total amount or value    Reasons for payment or transfer
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                              05/24/2019                  $45.00            Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                              05/24/2019            $282,814.00             Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                              05/24/2019                 $821.57            Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                              05/24/2019                  $45.00            Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                              06/03/2019                 $484.49            Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                              06/04/2019                 $297.62            Secured Debt
Flagstar Bank Accounts Receivable Mail Stop E-900-4 5151 Corporate Dr. Troy, MI 48098                              06/04/2019                  $18.85            Secured Debt
                                                                                                           Total                       $27,840,992.15
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           03/21/2019                 $161.50                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           03/21/2019               $2,436.42                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           03/21/2019              $45,404.00                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           03/21/2019                 $955.40                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           05/08/2019              $71,943.16                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           05/08/2019                 $136.80                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           05/08/2019              $77,149.13                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           05/08/2019                 $432.90                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           05/08/2019              $28,028.55                  Vendor
Fox Rothschild LLP Attn: Accounts Receivable - 74 P.O. Box 5231 Princeton, NJ 08543-5231                           05/08/2019               $3,162.30                  Vendor
                                                                                                           Total                          $229,810.16
Franchise Tax Board of California PO Box 942867 Sacramento, CA 94267-0011                                          04/16/2019              $95,131.00               Other Taxes
                                                                                                           Total                           $95,131.00
Goodwin & Goodwin, LLP 300 Summers Street, Suite 1500 Charleston, WV 25301-1678                                    05/06/2019                 $175.80                  Vendor
Goodwin & Goodwin, LLP 300 Summers Street, Suite 1500 Charleston, WV 25301-1678                                    05/06/2019              $12,876.30                  Vendor
                                                                                                           Total                           $13,052.10
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          03/22/2019               $3,541.61                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          03/22/2019               $3,541.60                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          03/22/2019               $4,226.61                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          03/22/2019               $4,226.60                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          03/22/2019                 $411.72                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          03/22/2019                 $411.71                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/11/2019              $13,530.46                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/11/2019              $13,530.46                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/11/2019              $22,946.40                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/11/2019              $22,946.40                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/11/2019               $2,826.95                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/11/2019               $2,826.95                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/22/2019               $5,657.08                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/22/2019               $5,657.08                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/22/2019               $7,457.06                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/22/2019               $7,457.06                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/22/2019               $1,016.35                  Vendor
HALO Branded Solutions, Inc. 3182 Momentum Place Chicago, IL   60689-5331                                          04/22/2019               $1,016.34                  Vendor
                                                                                                           Total                          $123,228.44
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             03/21/2019              $16,826.23                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             03/21/2019                 $145.89                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             03/21/2019              $13,248.28                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             03/21/2019                 $125.46                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             03/21/2019               $4,796.27                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             04/17/2019              $16,826.23                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             04/17/2019                 $145.89                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             04/17/2019              $13,248.28                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             04/17/2019                 $125.46                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             04/17/2019               $4,796.27                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             05/17/2019              $16,826.23                  Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD   21275-5367                                             05/17/2019                  $31.14                  Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
                                                                                                                                                      Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD 21275-5367                                             05/17/2019             $13,248.28                 Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD 21275-5367                                             05/17/2019                 $26.78                 Vendor
Hertz Richmond Holdings, LLC P.O. Box 75367 Baltimore, MD 21275-5367                                             05/17/2019              $4,796.27                 Vendor
                                                                                                         Total                         $105,212.96
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019              $7,988.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019                $201.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019                $167.90                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019              $4,672.41                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019                $234.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019                $335.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019                $100.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019                $268.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019             $13,889.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019             $20,713.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            03/21/2019              $3,428.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019             $11,780.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019              $3,859.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019              $4,676.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $381.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019             $28,529.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019             $32,841.51                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019              $2,780.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $100.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019              $2,211.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $368.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $251.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $857.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $134.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019              $1,345.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $902.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $335.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $167.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                 $67.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019              $1,105.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019                $603.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019              $1,317.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            04/24/2019              $2,110.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/06/2019              $6,322.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/06/2019             $30,031.80                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/06/2019                $100.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/06/2019              $3,306.00                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/06/2019                 $26.74                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/06/2019                $301.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/06/2019                $396.89                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/06/2019                $167.50                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/20/2019                 $25.08                   Vendor
Hirschler Fleischer PO Box 500 Richmond VA 23218-0500                                                            05/20/2019             $58,566.50                   Vendor
                                                                                                         Total                         $247,967.33
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                    03/12/2019              $3,764.22     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                    03/14/2019              $1,536.76     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                    03/14/2019              $3,850.49     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                    03/14/2019              $3,225.25     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                    03/14/2019              $7,105.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                    03/22/2019              $2,579.57     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                    03/22/2019              $2,912.65     Other Mortgage Insurance Premium




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   03/22/2019              $1,770.66     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   03/25/2019              $3,478.83     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   03/25/2019              $2,335.27     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   03/26/2019              $5,539.10     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   03/26/2019              $3,762.50     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   03/29/2019              $1,100.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/01/2019              $2,220.70     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/01/2019              $3,074.24     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/01/2019              $1,785.63     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/01/2019              $8,284.15     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/01/2019              $2,930.38     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/01/2019              $2,170.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/04/2019              $2,975.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/04/2019              $4,235.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/04/2019                $728.88     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/04/2019              $2,634.45     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/04/2019              $2,940.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/09/2019              $1,881.16     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/10/2019                $993.09     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/10/2019             $10,635.63     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/10/2019                $300.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/11/2019              $6,060.25     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/12/2019              $2,855.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/16/2019              $4,644.06     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/16/2019              $2,194.46     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/16/2019              $3,264.87     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/16/2019              $5,437.78     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/16/2019              $1,612.75     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/18/2019              $7,177.19     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/18/2019              $1,705.02     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/18/2019              $1,746.50     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/19/2019              $4,707.50     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/19/2019              $2,277.89     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/19/2019              $4,462.50     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/26/2019              $5,775.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/26/2019              $6,475.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/29/2019              $1,915.88     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   04/29/2019              $1,349.30     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/16/2019              $1,442.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/16/2019                 $57.68     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019              $1,527.46     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019                 $61.10     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019              $2,545.19     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019                $101.81     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019              $2,915.24     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019                $116.61     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019              $4,550.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019                $182.00     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019              $1,958.48     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019                 $78.34     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019              $2,028.60     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019                 $81.14     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019              $2,127.83     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019                 $85.11     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                   05/21/2019              $2,000.14     Other Mortgage Insurance Premium




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                   In re Live Well Financial, Inc.
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Transferee's name and address                                                                                         Dates      Total amount or value    Reasons for payment or transfer
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019                 $80.01     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019              $1,925.18     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019                 $77.01     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019              $3,461.94     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019                $138.48     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019              $3,731.53     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019                $149.26     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019              $1,823.09     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       05/21/2019                 $72.92     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       06/05/2019              $9,371.25     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       06/05/2019                $374.85     Other Mortgage Insurance Premium
HUD U.S. Bank HUD-FOC Debt Box979056 St. Louis, MO 63197-9000                                                       06/05/2019                 $17.20     Other Mortgage Insurance Premium
                                                                                                            Total                         $197,491.01
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           03/21/2019                $510.01                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           03/21/2019                $424.71                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           03/21/2019                $175.94                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           03/21/2019                $783.16                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           03/21/2019                 $69.51                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           04/17/2019                $510.01                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           04/17/2019                $424.71                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           04/17/2019                $783.16                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           04/17/2019                 $69.51                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           05/10/2019                $510.01                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           05/10/2019                $424.71                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           05/10/2019                $783.16                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           05/10/2019                 $69.51                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           05/10/2019                $783.16                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           05/10/2019                 $69.51                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           05/10/2019                $510.01                   Vendor
ICE Interactive Data Pricing and Reference Data, LLC P.O. BOX 98616 Chicago,   IL   60693                           05/10/2019                $424.71                   Vendor
                                                                                                            Total                           $7,325.50
Intex Solutions, Inc. 110 A Street Needham,   MA   02494-2807                                                       03/21/2019             $30,000.00                   Vendor
Intex Solutions, Inc. 110 A Street Needham,   MA   02494-2807                                                       03/21/2019             $10,000.00                   Vendor
Intex Solutions, Inc. 110 A Street Needham,   MA   02494-2807                                                       05/10/2019             $30,000.00                   Vendor
Intex Solutions, Inc. 110 A Street Needham,   MA   02494-2807                                                       05/10/2019             $10,000.00                   Vendor
                                                                                                            Total                          $80,000.00
James G. Brown 169 Colonial Parkway Manhasset, NY 11030                                                             03/25/2019             $10,784.19       Unsecured Loan Repayments
                                                                                                            Total                          $10,784.19
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                $758.00          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                 $32.00          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                $957.61          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                 $54.27          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                 $19.43          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                   $3.99         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                 $14.29          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                 $57.63          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                 $26.31          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                 $15.39          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                   $9.94         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     03/21/2019                   $3.67         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     04/26/2019                $708.00          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     04/26/2019                $636.57          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     04/26/2019                $424.20          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     04/26/2019                $112.25          Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                     04/26/2019                 $11.17          Other Employee Related




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
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Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $13.68         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                $732.17         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $45.78         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                   $3.99        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $13.68         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $31.41         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $20.93         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $56.51         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $21.82         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                   $4.64        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                   $7.36        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                   $4.80        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                   $8.33        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $54.33         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $45.87         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $85.30         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $26.59         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                 $12.71         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  04/26/2019                $106.72         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                $660.00         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $32.00         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                $694.07         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $46.57         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $11.76         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                   $9.68        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $13.90         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $29.52         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $13.61         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $35.09         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $35.09         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                   $5.93        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                   $7.37        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                   $6.04        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                   $9.93        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $31.76         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                   $5.26        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                   $3.99        Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $40.88         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $25.69         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/03/2019                 $17.46         Other Employee Related
Jim Cory 2126 Albatross St. San Diego, CA 92101                                                                  05/30/2019              $7,155.15         Other Employee Related
                                                                                                         Total                          $14,032.09
JNM Holdings, Inc. 95 Avenue of Two Rivers Rumson,   NJ 07760                                                    03/21/2019              $3,895.83                   Vendor
JNM Holdings, Inc. 95 Avenue of Two Rivers Rumson,   NJ 07760                                                    04/17/2019                 $80.00                   Vendor
JNM Holdings, Inc. 95 Avenue of Two Rivers Rumson,   NJ 07760                                                    04/17/2019              $3,895.83                   Vendor
JNM Holdings, Inc. 95 Avenue of Two Rivers Rumson,   NJ 07760                                                    05/17/2019              $3,895.83                   Vendor
                                                                                                         Total                          $11,767.49
Joshua Moran 665 Edgeview Drive Sierra Madre   CA   91024                                                        05/01/2019                $435.00          Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre   CA   91024                                                        05/01/2019              $3,450.00          Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre   CA   91024                                                        05/01/2019                $117.13          Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre   CA   91024                                                        05/01/2019              $1,098.20          Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre   CA   91024                                                        05/01/2019                 $43.03          Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre   CA   91024                                                        05/01/2019                 $56.41          Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre   CA   91024                                                        05/01/2019                 $33.02          Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre   CA   91024                                                        05/01/2019                $213.87          Other Employee Related




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                              In re Live Well Financial, Inc.
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Transferee's name and address                                                                                                    Dates      Total amount or value    Reasons for payment or transfer
Joshua Moran 665 Edgeview Drive Sierra Madre      CA   91024                                                                   05/01/2019                $357.39         Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre      CA   91024                                                                   05/01/2019                $988.95         Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre      CA   91024                                                                   05/01/2019                 $51.57         Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre      CA   91024                                                                   05/03/2019              $3,786.37         Other Employee Related
Joshua Moran 665 Edgeview Drive Sierra Madre      CA   91024                                                                   05/10/2019                $436.58         Other Employee Related
                                                                                                                       Total                          $11,067.52
Keiter 4401 Dominion Blvd. Glen Allen, VA 23060                                                                                03/28/2019              $3,505.00                   Vendor
Keiter 4401 Dominion Blvd. Glen Allen, VA 23060                                                                                03/28/2019             $50,000.00                   Vendor
Keiter 4401 Dominion Blvd. Glen Allen, VA 23060                                                                                04/26/2019              $1,800.00                   Vendor
Keiter 4401 Dominion Blvd. Glen Allen, VA 23060                                                                                05/17/2019              $6,200.00                   Vendor
Keiter 4401 Dominion Blvd. Glen Allen, VA 23060                                                                                06/07/2019              $7,000.00                   Vendor
                                                                                                                       Total                          $68,505.00
KPMG LLP Dept 0522 PO Box 120522 Dallas, TX 75312-0522                                                                         04/17/2019             $11,112.00                   Vendor
                                                                                                                       Total                          $11,112.00
Kramer Levin Naftalis & Frankel, LLP Attn: Accounting Department 1177 Avenue of the Americas New York, NY 10036-2714           03/21/2019              $2,526.50                   Vendor
Kramer Levin Naftalis & Frankel, LLP Attn: Accounting Department 1177 Avenue of the Americas New York, NY 10036-2714           03/21/2019              $1,602.19                   Vendor
Kramer Levin Naftalis & Frankel, LLP Attn: Accounting Department 1177 Avenue of the Americas New York, NY 10036-2714           03/21/2019              $1,563.50                   Vendor
Kramer Levin Naftalis & Frankel, LLP Attn: Accounting Department 1177 Avenue of the Americas New York, NY 10036-2714           05/17/2019              $6,261.00                   Vendor
Kramer Levin Naftalis & Frankel, LLP Attn: Accounting Department 1177 Avenue of the Americas New York, NY 10036-2714           05/17/2019             $23,178.50                   Vendor
                                                                                                                       Total                          $35,131.69
LendingQB P.O. Box 846822 Los Angeles, CA 90084-6822                                                                           03/15/2019              $9,000.00                   Vendor
LendingQB P.O. Box 846822 Los Angeles, CA 90084-6822                                                                           05/17/2019              $6,000.00                   Vendor
LendingQB P.O. Box 846822 Los Angeles, CA 90084-6822                                                                           05/17/2019                $568.75                   Vendor
                                                                                                                       Total                          $15,568.75
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                03/19/2019              $3,180.14                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                03/19/2019                $251.38                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                03/19/2019                 $75.84                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                03/19/2019              $1,090.48                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                03/19/2019              $1,175.69                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                03/19/2019                $850.14                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                04/17/2019              $3,148.24                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                04/17/2019                $263.37                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                04/17/2019                 $25.59                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                04/17/2019              $1,105.63                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                04/17/2019              $1,175.69                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                04/17/2019                $786.05                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                05/20/2019              $3,234.11                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                05/20/2019                $356.87                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                05/20/2019                 $75.84                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                05/20/2019              $1,207.21                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                05/20/2019              $1,201.70                   Vendor
Life Insurance Co. of North America P.O. Box 780110 Philadelphia, PA 19178-0110                                                05/20/2019                $909.81                   Vendor
                                                                                                                       Total                          $20,113.78
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/12/2019              $2,264.04        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/12/2019              $2,414.12        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/12/2019              $1,539.73        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/12/2019                $831.75        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/12/2019              $1,581.35        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/12/2019                $290.07        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/14/2019              $1,458.60        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/14/2019                $939.70        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/14/2019                $496.73        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/14/2019              $2,428.64        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/14/2019                $399.69        Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                             03/14/2019                $942.69        Other Borrower Loan Related




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                   In re Live Well Financial, Inc.
                                                                                                                                                         Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                         Dates      Total amount or value    Reasons for payment or transfer
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/14/2019              $3,614.61       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/14/2019                $794.96       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/14/2019                $493.32       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/14/2019                $569.16       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/20/2019              $2,242.53       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019              $1,132.68       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019                $454.56       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019              $1,269.26       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019                $193.95       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019              $3,144.25       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019              $1,982.85       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019              $2,107.64       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019                $728.58       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019                $948.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019              $2,416.30       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019                $330.36       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019                $494.79       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019              $1,703.68       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019                $851.44       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  03/27/2019                $965.80       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019                $972.17       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019              $1,916.92       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019                $350.46       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019              $1,592.39       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019                $466.03       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019                $799.60       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019              $1,244.13       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019                $830.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019              $1,847.97       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019              $1,120.80       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019              $1,386.86       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019                $862.88       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/01/2019              $1,162.49       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/04/2019                $545.48       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/04/2019              $1,037.98       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/04/2019                $956.07       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/04/2019              $1,039.88       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/04/2019                $695.94       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/04/2019                $283.27       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/08/2019              $3,424.05       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/08/2019                $762.42       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/08/2019                $573.57       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/08/2019                $877.72       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/08/2019              $3,255.06       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/08/2019              $1,769.47       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/08/2019              $2,369.60       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019              $2,327.36       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019              $1,445.42       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019                $799.26       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019                $746.02       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019                $658.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019                $941.20       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019              $1,076.11       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019              $3,159.66       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019              $1,066.76       Other Borrower Loan Related




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                   In re Live Well Financial, Inc.
                                                                                                                                                         Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                         Dates      Total amount or value    Reasons for payment or transfer
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019              $1,027.50       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019                $778.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/15/2019              $2,252.72       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019             $10,048.12       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019              $1,294.75       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019              $3,379.51       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $224.16       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $355.04       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $753.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $745.60       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $373.65       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $534.63       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019              $2,145.61       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019              $1,490.66       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $843.27       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $819.62       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019              $2,193.33       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $498.72       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019                $920.59       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/17/2019              $1,071.64       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/19/2019              $1,623.12       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/19/2019              $1,392.40       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/19/2019                $744.83       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/19/2019                $523.05       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/19/2019              $1,721.82       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/19/2019              $1,268.55       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/23/2019              $1,301.60       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/23/2019              $1,511.93       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/23/2019              $2,648.94       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/23/2019              $1,654.45       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/24/2019              $3,194.92       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/24/2019                $869.85       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/24/2019              $2,714.74       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/24/2019              $2,189.13       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/24/2019                $692.14       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/24/2019                $462.09       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/25/2019                $314.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/25/2019                $790.52       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/25/2019              $1,678.47       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/25/2019              $2,254.62       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/29/2019              $1,676.48       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/29/2019              $1,967.48       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/29/2019                $838.12       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/29/2019                $837.78       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/29/2019              $1,412.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/29/2019              $2,664.90       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  04/29/2019              $1,356.34       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  05/15/2019                $329.09       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  05/15/2019                $330.48       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  05/15/2019              $2,092.96       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  05/15/2019              $3,126.22       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  05/15/2019              $2,603.28       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  05/15/2019              $1,129.59       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  05/15/2019              $1,998.28       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                  05/15/2019                $481.02       Other Borrower Loan Related




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                    In re Live Well Financial, Inc.
                                                                                                                                                          Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                          Dates      Total amount or value    Reasons for payment or transfer
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019              $1,711.70       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019                $864.14       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019              $1,112.16       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019              $1,593.32       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019                $689.40       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019                $920.80       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019                $797.84       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019              $1,010.53       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019                $647.34       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019              $2,407.86       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019                $999.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019                $518.00       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019              $1,148.11       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019              $3,662.28       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/15/2019                $615.94       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/29/2019                $523.05       Other Borrower Loan Related
LoanCare, a Division of FNF Servicing, Inc C/O Cash Dept. 3637 Sentra Way Virginia Beach, VA 23452                   05/29/2019              $1,401.16       Other Borrower Loan Related
                                                                                                             Total                         $191,156.77
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $175.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $200.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $200.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $495.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $300.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $300.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $495.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $500.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $495.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $200.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $200.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $175.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $200.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $300.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $300.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $200.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $300.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $300.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $300.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $795.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $595.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $795.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $300.00                   Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA       92868                                           04/17/2019                $875.00                   Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                  In re Live Well Financial, Inc.
                                                                                                                                                        Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                        Dates      Total amount or value    Reasons for payment or transfer
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $300.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $595.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $300.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $200.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $300.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $595.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $595.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $300.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $300.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $595.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $200.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $500.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $300.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $595.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $300.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $595.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $595.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $500.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          04/17/2019                $595.00                 Vendor
LRES CORPORATION 765 The City Drive South Suite 300 Orange, CA      92868                                          05/16/2019                   $0.00                Vendor
                                                                                                           Total                          $24,990.00
Mayer Brown LLP 230 South Lasalle St. Chicago, IL 60604-1404                                                       05/01/2019             $10,455.00                   Vendor
Mayer Brown LLP 230 South Lasalle St. Chicago, IL 60604-1404                                                       05/01/2019             $30,000.00                   Vendor
                                                                                                           Total                          $40,455.00
MGN Funding Corp 115-01 Leffarts Blvd., 1st Floor South Ozone Park, NY 11420                                       05/07/2019             $12,996.00        Other Borrower Loan Related
MGN Funding Corp 115-01 Leffarts Blvd., 1st Floor South Ozone Park, NY 11420                                       05/07/2019                $625.14        Other Borrower Loan Related
MGN Funding Corp 115-01 Leffarts Blvd., 1st Floor South Ozone Park, NY 11420                                       05/07/2019                 $33.43        Other Borrower Loan Related
                                                                                                           Total                          $13,654.57
Mitel 28760 Network Place Chicago, IL 60673-1287                                                                   03/21/2019              $4,199.59                  Services
Mitel 28760 Network Place Chicago, IL 60673-1287                                                                   03/21/2019              $4,199.58                  Services
Mitel 28760 Network Place Chicago, IL 60673-1287                                                                   04/17/2019              $3,864.56                  Services
Mitel 28760 Network Place Chicago, IL 60673-1287                                                                   04/17/2019              $3,864.56                  Services
Mitel 28760 Network Place Chicago, IL 60673-1287                                                                   06/07/2019              $3,928.27                  Services
Mitel 28760 Network Place Chicago, IL 60673-1287                                                                   06/07/2019              $3,928.27                  Services
                                                                                                           Total                          $23,984.83
Mountain View Analytics, LLC 999 18th Street Suite 1001 Denver, CO 80202                                           03/21/2019              $2,500.00                   Vendor
Mountain View Analytics, LLC 999 18th Street Suite 1001 Denver, CO 80202                                           04/17/2019              $2,500.00                   Vendor
Mountain View Analytics, LLC 999 18th Street Suite 1001 Denver, CO 80202                                           05/10/2019              $2,500.00                   Vendor
                                                                                                           Total                           $7,500.00
Murphy & McGonigle, P.C. 4870 Sadler Rd., Suite 301 Glen Allen, VA 23060                                           06/07/2019             $23,916.00                   Vendor
Murphy & McGonigle, P.C. 4870 Sadler Rd., Suite 301 Glen Allen, VA 23060                                           06/07/2019             $39,782.52                   Vendor
Murphy & McGonigle, P.C. 4870 Sadler Rd., Suite 301 Glen Allen, VA 23060                                           06/07/2019             $10,950.73                   Vendor
Murphy & McGonigle, P.C. 4870 Sadler Rd., Suite 301 Glen Allen, VA 23060                                           06/07/2019             $52,106.48                   Vendor
                                                                                                           Total                         $126,755.73
New Retirement, Inc. 1933 Davis Street Suite 205 San Leandro, CA 94577                                             03/22/2019             $23,060.00                   Vendor
New Retirement, Inc. 1933 Davis Street Suite 205 San Leandro, CA 94577                                             03/22/2019             $23,060.00                   Vendor
New Retirement, Inc. 1933 Davis Street Suite 205 San Leandro, CA 94577                                             04/04/2019                   $0.00                  Vendor
                                                                                                           Total                          $46,120.00
New York State Dept of Financial Services Banking Division One Commerce Plaza Albany, NY 12257                     05/17/2019             $10,492.00                   Vendor
                                                                                                           Total                          $10,492.00
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                              03/21/2019                $979.20                   Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                              03/21/2019                 $42.60                   Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                              03/21/2019                $979.20                   Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                              03/21/2019                 $45.53                   Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                              04/17/2019                $783.36                   Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                     In re Live Well Financial, Inc.
                                                                                                                                                           Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                           Dates      Total amount or value    Reasons for payment or transfer
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 04/17/2019                 $29.38                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 04/17/2019                $979.20                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 04/17/2019                 $23.13                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 04/17/2019                $979.20                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 04/17/2019                   $4.41                Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                $979.20                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                 $37.45                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                $960.11                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                 $39.29                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                $979.20                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                 $31.95                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                $783.36                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                 $79.68                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                $979.20                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                $132.93                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                $783.36                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/08/2019                 $93.27                 Vendor
OfficeTeam P.O. Box 743295 Los Angeles, CA 90074-3295                                                                 05/17/2019                $195.84                 Vendor
                                                                                                              Total                          $10,920.05
Optimal Blue Dept 3232 P O Box 123232 Dallas, TX   75312-3232                                                         03/21/2019              $5,871.00                   Vendor
Optimal Blue Dept 3232 P O Box 123232 Dallas, TX   75312-3232                                                         03/21/2019              $5,304.50                   Vendor
Optimal Blue Dept 3232 P O Box 123232 Dallas, TX   75312-3232                                                         03/21/2019              $1,854.00                   Vendor
Optimal Blue Dept 3232 P O Box 123232 Dallas, TX   75312-3232                                                         03/21/2019              $1,030.00                   Vendor
Optimal Blue Dept 3232 P O Box 123232 Dallas, TX   75312-3232                                                         03/21/2019              $7,725.00                   Vendor
Optimal Blue Dept 3232 P O Box 123232 Dallas, TX   75312-3232                                                         04/17/2019             $14,188.00                   Vendor
                                                                                                              Total                          $35,972.50
Orrick, Herrington & Sutcliffe LLP Lockbox #774619 4619 Solutions Center Chicago, IL 60677-4006                       05/29/2019             $14,499.08                   Vendor
Orrick, Herrington & Sutcliffe LLP Lockbox #774619 4619 Solutions Center Chicago, IL 60677-4006                       05/29/2019              $4,849.45                   Vendor
Orrick, Herrington & Sutcliffe LLP Lockbox #774619 4619 Solutions Center Chicago, IL 60677-4006                       05/31/2019             $56,010.63                   Vendor
Orrick, Herrington & Sutcliffe LLP Lockbox #774619 4619 Solutions Center Chicago, IL 60677-4006                       05/31/2019             $17,185.47                   Vendor
Orrick, Herrington & Sutcliffe LLP Lockbox #774619 4619 Solutions Center Chicago, IL 60677-4006                       05/31/2019              $4,034.96                   Vendor
Orrick, Herrington & Sutcliffe LLP Lockbox #774619 4619 Solutions Center Chicago, IL 60677-4006                       06/10/2019             $84,275.20                   Vendor
                                                                                                              Total                         $180,854.79
Performance Trust 500 West Madison Suite 450 Chicago, IL   60661                                                      04/16/2019              $6,113.28       Unsecured Loan Repayments
Performance Trust 500 West Madison Suite 450 Chicago, IL   60661                                                      04/17/2019             $33,046.88       Unsecured Loan Repayments
Performance Trust 500 West Madison Suite 450 Chicago, IL   60661                                                      05/14/2019              $3,593.75       Unsecured Loan Repayments
Performance Trust 500 West Madison Suite 450 Chicago, IL   60661                                                      05/21/2019             $34,531.25       Unsecured Loan Repayments
                                                                                                              Total                          $77,285.16
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               03/21/2019             $14,173.26                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               03/21/2019                $340.87                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               03/21/2019              $9,356.67                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               03/21/2019                $340.86                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               04/17/2019             $14,173.26                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               04/17/2019                $340.87                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               04/17/2019              $9,356.67                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               04/17/2019                $340.86                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               05/17/2019             $14,173.26                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               05/17/2019                $340.87                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               05/17/2019              $9,356.67                   Vendor
Property Reserve, Inc. Dept. #206 PO Box 26945 Salt Lake City, UT 84126                                               05/17/2019                $340.86                   Vendor
                                                                                                              Total                          $72,634.98
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                           05/07/2019                $822.80                   Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                           05/07/2019              $1,093.95                   Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                           05/07/2019              $1,053.00                   Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                           05/07/2019              $1,122.00                   Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
                                                                                                                                                      Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019              $1,080.00                 Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019                 $457.78                Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019              $1,122.00                 Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019              $1,080.00                 Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019                 $480.35                Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019                 $475.20                Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019              $1,122.00                 Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019              $1,080.00                 Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/07/2019              $1,188.00                 Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/10/2019              $1,009.80                 Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/10/2019                 $972.00                Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/10/2019              $1,063.26                 Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      05/17/2019                 $430.65                Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      06/07/2019                 $380.80                Vendor
Randstad Professionals P. O. Box 742689 Atlanta, GA   30374                                                      06/07/2019                 $892.50                Vendor
                                                                                                         Total                          $16,926.09
Republic Bank & Trust Company                                                                                    03/13/2019                -$840.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019            $155,682.92               Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $309.24              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019            $168,469.49               Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $334.68              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019            $159,324.71               Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $316.56              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019            $187,267.08               Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $372.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019            $144,003.67               Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $286.08              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019            $149,086.65               Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $296.16              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019            $128,625.69               Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $255.48              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019            $145,116.94               Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/13/2019                 $288.24              Secured Debt
Republic Bank & Trust Company                                                                                    03/22/2019              $5,234.43               Secured Debt
Republic Bank & Trust Company                                                                                    03/22/2019            $144,159.30               Secured Debt
Republic Bank & Trust Company                                                                                    03/22/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/22/2019                 $501.27              Secured Debt
Republic Bank & Trust Company                                                                                    03/27/2019                  $30.87              Secured Debt
Republic Bank & Trust Company                                                                                    03/27/2019             $58,825.64               Secured Debt
Republic Bank & Trust Company                                                                                    03/27/2019                  $55.00              Secured Debt
Republic Bank & Trust Company                                                                                    03/27/2019                 $236.52              Secured Debt
Republic Bank & Trust Company                                                                                    03/29/2019                   $2.95              Secured Debt
Republic Bank & Trust Company                                                                                    04/01/2019             $25,521.85               Secured Debt
Republic Bank & Trust Company                                                                                    04/01/2019            $388,623.53               Secured Debt
Republic Bank & Trust Company                                                                                    04/01/2019                 $105.00              Secured Debt
Republic Bank & Trust Company                                                                                    04/01/2019              $1,900.92               Secured Debt
Republic Bank & Trust Company                                                                                    04/01/2019              $3,115.33               Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Republic Bank & Trust Company                                                                                   04/02/2019              $6,842.24             Secured Debt
Republic Bank & Trust Company                                                                                   04/02/2019            $173,024.21             Secured Debt
Republic Bank & Trust Company                                                                                   04/02/2019                $105.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/02/2019                 $28.55             Secured Debt
Republic Bank & Trust Company                                                                                   04/03/2019              $4,192.13             Secured Debt
Republic Bank & Trust Company                                                                                   04/03/2019            $117,664.05             Secured Debt
Republic Bank & Trust Company                                                                                   04/03/2019                $105.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/03/2019                 $38.82             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $650.04             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019             $66,477.14             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $187.10             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $134,530.31             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $378.76             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $133,226.98             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $493.28             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019             $11,565.75             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $135.73             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $34.27             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $181,253.11             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $725.03             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $233,921.31             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $900.87             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $160,637.91             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $642.41             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019             $59,325.65             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $237.20             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $111,063.29             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $460.53             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $345,084.35             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019              $1,277.95             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $123,205.03             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $365.08             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $319,607.23             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $805.07             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019             $80,458.57             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $321.71             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019             $72,610.57             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $279.64             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019              $7,753.45             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $133.20             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $36.80             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019             $61,585.22             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $237.26             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019             $34,607.68             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $72.65             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $97.35             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019            $113,566.25             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $420.53             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019             $50,799.08             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/08/2019                $150.54             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $16,585.55             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $26,244.20             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $127.21             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $42.79             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $86,435.02             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $105.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $114.08             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $93,361.09             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $152.26             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $18,972.23             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $136.28             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $33.72             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $59,023.18             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $64.96             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $105.04             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $16,670.74             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $142.83             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $27.17             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $44,763.54             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $70.47             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $99.53             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $12,230.58             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $142.85             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $27.15             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $44,078.15             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $98.09             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $71.91             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $317,327.16             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $517.50             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $64,559.53             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $124.44             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $32,454.06             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $102.66             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $67.34             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $12,509.24             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $147.72             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $22.28             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $212,610.64             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $346.76             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $187,294.14             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $721.38             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $168,389.66             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $274.63             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $11,747.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $145.64             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $24.36             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $351,376.10             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $625.04             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $36,046.08             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $105.84             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $64.16             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $82,496.91             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $158.97             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $129,253.91             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $105.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $170.64             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $51,042.94             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $86.76             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $83.24             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $100,560.18             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $223.59             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $463,166.33             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $105.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $611.36             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $85,204.43             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $189.39             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $115,107.88             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $221.76             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019             $67,090.87             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $149.11             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019            $125,127.86             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $241.13             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $318.71             Secured Debt
Republic Bank & Trust Company                                                                                   04/09/2019                $128.41             Secured Debt
Republic Bank & Trust Company                                                                                   04/10/2019              $4,780.52             Secured Debt
Republic Bank & Trust Company                                                                                   04/10/2019             $67,032.58             Secured Debt
Republic Bank & Trust Company                                                                                   04/10/2019                $105.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/10/2019                 $95.31             Secured Debt
Republic Bank & Trust Company                                                                                   04/11/2019              $8,877.80             Secured Debt
Republic Bank & Trust Company                                                                                   04/11/2019            $255,595.50             Secured Debt
Republic Bank & Trust Company                                                                                   04/11/2019                $105.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/11/2019                $421.70             Secured Debt
Republic Bank & Trust Company                                                                                   04/12/2019              $9,752.74             Secured Debt
Republic Bank & Trust Company                                                                                   04/12/2019            $208,243.83             Secured Debt
Republic Bank & Trust Company                                                                                   04/12/2019                $105.00             Secured Debt
Republic Bank & Trust Company                                                                                   04/12/2019                $362.29             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Republic Bank & Trust Company                                                                                   04/15/2019                -$105.00            Secured Debt
Republic Bank & Trust Company                                                                                   04/15/2019            $506,803.81             Secured Debt
Republic Bank & Trust Company                                                                                   04/15/2019                 $105.00            Secured Debt
Republic Bank & Trust Company                                                                                   04/15/2019              $1,170.68             Secured Debt
Republic Bank & Trust Company                                                                                   04/16/2019                 -$88.11            Secured Debt
Republic Bank & Trust Company                                                                                   04/17/2019             $16,169.12             Secured Debt
Republic Bank & Trust Company                                                                                   04/18/2019                  $16.80            Secured Debt
Republic Bank & Trust Company                                                                                   04/19/2019                 $153.20            Secured Debt
Republic Bank & Trust Company                                                                                   04/25/2019                 $920.55            Secured Debt
Republic Bank & Trust Company                                                                                   04/25/2019             $77,153.66             Secured Debt
Republic Bank & Trust Company                                                                                   04/25/2019                  $67.04            Secured Debt
Republic Bank & Trust Company                                                                                   04/25/2019                 $102.96            Secured Debt
Republic Bank & Trust Company                                                                                   04/25/2019             $48,544.33             Secured Debt
Republic Bank & Trust Company                                                                                   04/25/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                   04/25/2019                 $144.00            Secured Debt
Republic Bank & Trust Company                                                                                   04/30/2019             $27,722.67             Secured Debt
Republic Bank & Trust Company                                                                                   04/30/2019            $445,960.20             Secured Debt
Republic Bank & Trust Company                                                                                   04/30/2019                 $105.00            Secured Debt
Republic Bank & Trust Company                                                                                   04/30/2019              $2,044.21             Secured Debt
Republic Bank & Trust Company                                                                                   04/30/2019                   $2.95            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019              $3,298.98             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019            $135,406.11             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $562.20            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $88,835.18             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $289.72            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019            $257,972.49             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $917.84            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $40,888.87             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $133.38            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $38,008.24             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $57.28            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $112.72            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $47,336.05             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $161.38            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $16,904.42             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $119.88            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $50.12            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $97,397.47             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $303.21            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $29,653.95             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $77.68            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $92.32            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $14,490.05             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $122.70            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $47.30            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $70,834.86             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $241.57            Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019             $46,459.01             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Republic Bank & Trust Company                                                                                   05/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                $165.28             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019            $121,867.52             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                $433.60             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019            $100,060.79             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                $326.24             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                $105.91             Secured Debt
Republic Bank & Trust Company                                                                                   05/09/2019                $315.72             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019              $4,428.47             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $37,999.46             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $91.13             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $78.87             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $23,518.56             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $58.41             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $111.59             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $55,615.93             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $131.82             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $23,553.80             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $58.32             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $111.68             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $91,411.39             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $135.33             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $52,477.90             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $287.77             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019            $104,599.62             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $170.45             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $23,983.26             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $106.01             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $63.99             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019            $158,720.32             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $705.84             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $77,422.02             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $194.98             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $33,041.09             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $121.09             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $48.91             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019              $8,895.96             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $131.72             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $38.28             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $39,793.15             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $182.81             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019            $191,470.25             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $397.15             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019            $258,870.04             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                               In re Live Well Financial, Inc.
                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                     Dates      Total amount or value    Reasons for payment or transfer
Republic Bank & Trust Company                                                                                   05/10/2019                $536.97             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $59,711.31             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $256.76             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $85,988.15             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $127.32             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $22,586.10             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $136.59             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $33.41             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $32,817.50             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $136.27             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $64,710.26             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $74.18             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $95.82             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $57,203.22             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $85.28             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $84.72             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019            $174,017.56             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $257.65             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $58,438.48             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $147.21             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $83,916.12             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $398.13             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $86,373.66             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $127.92             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $39,545.67             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $111.48             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $58.52             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019            $347,209.76             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $926.19             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019            $213,440.90             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $347.72             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $33,169.91             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $147.51             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $32,105.18             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $142.71             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $57,317.14             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $135.91             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019            $135,414.51             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $200.54             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019             $84,398.58             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                 $55.00             Secured Debt
Republic Bank & Trust Company                                                                                   05/10/2019                $212.66             Secured Debt




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
                                                                                                                                                      Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
Republic Bank & Trust Company                                                                                    05/10/2019              $33,861.64            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $79.73            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $90.27            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019              $53,269.28            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $91.09            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $78.91            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019              $85,668.48            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $126.83            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019              $16,887.57            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $142.50            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $27.50            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019            $199,410.48             Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $295.26            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019              $71,848.31            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $340.94            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019              $67,485.37            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $149.97            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019              $71,095.72            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $189.72            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019              $20,192.46            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $137.09            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $32.91            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019            $156,506.49             Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $55.00            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $881.91            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019              $36,980.90            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                 $115.19            Secured Debt
Republic Bank & Trust Company                                                                                    05/10/2019                  $54.81            Secured Debt
Republic Bank & Trust Company                                                                                    05/24/2019               $8,809.66            Secured Debt
Republic Bank & Trust Company                                                                                    05/24/2019              $18,909.07            Secured Debt
Republic Bank & Trust Company                                                                                    05/24/2019                 $105.00            Secured Debt
Republic Bank & Trust Company                                                                                    05/24/2019                 $134.34            Secured Debt
Republic Bank & Trust Company                                                                                    05/31/2019                   $2.95            Secured Debt
                                                                                                         Total                       $14,026,639.02
Reverse Lead Club, LLC 429 Santa Monica Blvd, Suite 320A Santa Monica, CA 90401                                  03/22/2019              $22,225.00                  Vendor
Reverse Lead Club, LLC 429 Santa Monica Blvd, Suite 320A Santa Monica, CA 90401                                  03/22/2019              $22,225.00                  Vendor
Reverse Lead Club, LLC 429 Santa Monica Blvd, Suite 320A Santa Monica, CA 90401                                  04/04/2019                   $0.00                  Vendor
                                                                                                         Total                           $44,450.00
Reverse Vision, Inc. Attn: Riza Estacio 1620 5th Ave, Suite 525 San Diego, CA 92101                              03/21/2019               $3,463.67                  Vendor
Reverse Vision, Inc. Attn: Riza Estacio 1620 5th Ave, Suite 525 San Diego, CA 92101                              03/21/2019               $3,463.67                  Vendor
Reverse Vision, Inc. Attn: Riza Estacio 1620 5th Ave, Suite 525 San Diego, CA 92101                              03/21/2019               $3,463.66                  Vendor
                                                                                                         Total                           $10,391.00
Ring2Media 121 Post Road East Westport, CT 06880                                                                 03/12/2019               $5,912.50                  Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 03/12/2019               $5,912.50                  Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 03/12/2019               $7,562.50                  Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 03/12/2019               $7,562.50                  Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 03/22/2019               $8,800.00                  Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 03/22/2019               $8,800.00                  Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/01/2019               $7,425.00                  Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/01/2019               $7,425.00                  Vendor




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
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Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/01/2019              $7,150.00                 Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/01/2019              $7,150.00                 Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/11/2019              $8,250.00                 Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/11/2019              $8,250.00                 Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/23/2019              $6,875.00                 Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/23/2019              $6,875.00                 Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/23/2019              $6,737.50                 Vendor
Ring2Media 121 Post Road East Westport, CT 06880                                                                 04/23/2019              $6,737.50                 Vendor
                                                                                                         Total                         $117,425.00
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019              $1,125.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019              $1,125.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019                $540.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019                $540.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019                $675.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019                $675.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019              $1,440.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019              $1,440.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019              $1,575.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019              $1,575.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019                $675.00                   Vendor
RocketBike, LLC. 623 High Street Portsmouth, VA 23704                                                            03/22/2019                $675.00                   Vendor
                                                                                                         Total                          $12,060.00
Salesforce.com, Inc. P.O. Box 203141 Dallas, TX 75320-3141                                                       03/21/2019             $92,382.00                   Vendor
Salesforce.com, Inc. P.O. Box 203141 Dallas, TX 75320-3141                                                       03/21/2019             $92,382.00                   Vendor
                                                                                                         Total                         $184,764.00
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       03/21/2019              $1,170.00                   Vendor
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       03/21/2019              $1,682.00                   Vendor
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       03/21/2019              $1,929.00                   Vendor
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       03/21/2019              $1,687.00                   Vendor
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       03/21/2019              $1,528.00                   Vendor
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       03/21/2019              $2,134.00                   Vendor
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       04/17/2019                $747.20                   Vendor
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       04/17/2019              $1,864.80                   Vendor
TENA COMPANIES INC. 251 W. Lafayette Frontage Rd. South St. Paul, MN 55107                                       04/17/2019                $212.10                   Vendor
                                                                                                         Total                          $12,954.10
Texas Comptroller of Public Accounts P. O. Box 149348 Austin, TX 78714-9348                                      04/25/2019             $25,440.59                Other Taxes
                                                                                                         Total                          $25,440.59
The Hartford PO Box 660916 Dallas, TX. 75266-0916                                                                03/19/2019              $1,292.10                   Vendor
The Hartford PO Box 660916 Dallas, TX. 75266-0916                                                                04/17/2019              $4,181.70                   Vendor
The Hartford PO Box 660916 Dallas, TX. 75266-0916                                                                05/17/2019              $4,188.70                   Vendor
                                                                                                         Total                           $9,662.50
TSPN, Inc. 3008 E Malapai Dr. Phoenix, AZ 85028                                                                  03/21/2019              $4,630.00                  Services
TSPN, Inc. 3008 E Malapai Dr. Phoenix, AZ 85028                                                                  03/21/2019              $4,630.00                  Services
TSPN, Inc. 3008 E Malapai Dr. Phoenix, AZ 85028                                                                  05/22/2019              $4,967.50                  Services
TSPN, Inc. 3008 E Malapai Dr. Phoenix, AZ 85028                                                                  05/22/2019              $4,967.50                  Services
                                                                                                         Total                          $19,195.00
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          03/22/2019                $713.25                  Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          03/22/2019              $3,479.90                  Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          03/22/2019                $750.00                  Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          03/22/2019              $2,000.00                  Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          03/22/2019              $2,316.03                  Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          03/22/2019                $373.89                  Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          04/17/2019                $200.00                  Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          04/17/2019                $202.89                  Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          04/17/2019                $750.00                  Services




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                In re Live Well Financial, Inc.
                                                                                                                                                      Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                      Dates      Total amount or value    Reasons for payment or transfer
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          05/10/2019                $125.00                Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          05/10/2019              $3,000.00                Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          05/10/2019                $250.00                Services
U. S. Bank CM-9690 PO Box 70870 St. Paul, MN 55170-9690                                                          05/10/2019              $3,073.99                Services
                                                                                                         Total                          $17,234.95
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  03/21/2019              $1,635.82                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  03/21/2019              $1,635.82                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  03/21/2019              $1,909.83                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  03/21/2019              $1,518.07                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  03/21/2019              $1,518.06                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  03/21/2019              $1,902.14                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  03/21/2019              $1,985.10                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  03/21/2019              $1,985.09                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  04/17/2019              $2,950.52                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  04/17/2019              $1,811.20                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  04/17/2019              $1,811.20                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  04/17/2019              $1,828.95                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  04/17/2019              $1,565.81                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  04/17/2019              $1,565.80                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/01/2019              $1,798.68                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/01/2019              $1,841.69                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/01/2019              $1,841.68                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/01/2019              $1,768.27                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/01/2019              $1,702.73                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/01/2019              $1,702.72                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/06/2019              $2,243.70                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/10/2019              $1,642.73                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/10/2019              $1,642.73                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/10/2019              $2,148.81                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/10/2019              $1,406.91                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/10/2019              $1,406.91                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019              $1,782.40                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019              $1,289.32                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019              $1,289.32                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019              $1,259.64                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019              $1,259.63                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019              $2,849.03                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019              $2,417.35                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019                 $45.59                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  05/17/2019                 $45.59                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  06/07/2019              $1,199.38                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  06/07/2019                 $27.50                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  06/07/2019                 $27.49                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  06/07/2019              $1,360.51                   Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  06/07/2019                   $7.60                  Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  06/07/2019                   $7.59                  Vendor
UPS PO Box 7247-0244 Philadelphia PA 19170-0001                                                                  06/07/2019              $1,723.95                   Vendor
                                                                                                         Total                          $63,362.86
V-Ten Investments LLC                                                                                            03/25/2019             $82,500.00       Unsecured Loan Repayments
                                                                                                         Total                          $82,500.00
Weiner Brodsky Kider PC 1300 19th Street, NW 5th Floor Washington DC 20036-1609                                  03/21/2019                 $63.00                   Vendor
Weiner Brodsky Kider PC 1300 19th Street, NW 5th Floor Washington DC 20036-1609                                  04/17/2019                $105.00                   Vendor
Weiner Brodsky Kider PC 1300 19th Street, NW 5th Floor Washington DC 20036-1609                                  05/17/2019             $22,648.76                   Vendor
Weiner Brodsky Kider PC 1300 19th Street, NW 5th Floor Washington DC 20036-1609                                  05/17/2019                $670.50                   Vendor
                                                                                                         Total                          $23,487.26




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Attachment 3 - Certain payments or transfers to creditors within 90 days before filing this case                                                                           In re Live Well Financial, Inc.
                                                                                                                                                                 Case No. 19-11317-LSS (Bankr. D. Del.)


Transferee's name and address                                                                                                 Dates      Total amount or value    Reasons for payment or transfer
Wells Fargo NA Attn: Andrew Myszka Financial Processing 4800 W Wabash Ave. Attn X2803-01E Springfield, IL 62711             03/21/2019                 $375.00     Unsecured Loan Repayments
Wells Fargo NA Attn: Andrew Myszka Financial Processing 4800 W Wabash Ave. Attn X2803-01E Springfield, IL 62711             04/11/2019                  $10.10                Vendor
Wells Fargo NA Attn: Andrew Myszka Financial Processing 4800 W Wabash Ave. Attn X2803-01E Springfield, IL 62711             04/11/2019               $1,429.61                Vendor
Wells Fargo NA Attn: Andrew Myszka Financial Processing 4800 W Wabash Ave. Attn X2803-01E Springfield, IL 62711             05/13/2019               $1,900.94                Vendor
Wells Fargo NA Attn: Andrew Myszka Financial Processing 4800 W Wabash Ave. Attn X2803-01E Springfield, IL 62711             05/13/2019               $3,600.32     Unsecured Loan Repayments
                                                                                                                    Total                            $7,315.97
Windstream P.O. Box 9001013 Louisville, KY 40290-1013                                                                       03/21/2019               $3,376.68                 Services
Windstream P.O. Box 9001013 Louisville, KY 40290-1013                                                                       04/17/2019               $3,340.35                 Services
Windstream P.O. Box 9001013 Louisville, KY 40290-1013                                                                       04/26/2019               $3,331.21                 Services
Windstream P.O. Box 9001013 Louisville, KY 40290-1013                                                                       06/07/2019               $3,267.21                 Services
                                                                                                                    Total                           $13,315.45
Grand Total                                                                                                                                    $121,437,501.48




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Attachment 4 - Payments or other transfers of property made within 1 year before filing this case that benefited any insider                                                   In re Live Well Financial, Inc.
                                                                                                                                                                     Case No. 19-11317-LSS (Bankr. D. Del.)



                       Transferee's name and address                                        Dates                         Total amount or value            Reasons for payment or transfer
Eric G. Rohr (address on file)                                                      6/15/2018 - 12/14/2018                                 $255,701.81                 Payroll
Glenwood L. Haddock (address on file)                                               10/22/2018 - 1/6/2019                                     $6,762.76       Expense Reimbursement
Glenwood L. Haddock (address on file)                                               6/15/2018 - 5/31/2019                                  $195,833.42                 Payroll
Michael C. Hild (address on file)                                                     7/6/2018 - 6/1/2019                                  $128,925.00             Directors Fees
Michael C. Hild (address on file)                                                     7/2/2018 - 6/1/2019                                $5,678,222.15            Guarantee Fees
Michael C. Hild (address on file)                                                   6/15/2018 - 5/31/2019                                $1,311,770.75                 Payroll
Stuart Cantor (address on file)                                                       7/5/2018 - 6/1/2019                                  $171,900.00             Directors Fees
                                                                                      Total Transfers to Insiders:                       $7,749,115.89

Republic Bank & Trust Company, 9600 Brownsboro Rd., Louisville, KY 40241             6/12/2018 - 6/10/2019                             $199,123,641.33        Borrower Loan Transactions;
                                                                                                                                                           debt guaranteed by Michael C. Hild
Flagstar Bank, FSB, 5151 Corporate Drive, Troy, MI 48098                             6/12/2018 - 6/10/2019                             $163,702,077.00        Borrower Loan Transactions;
                                                                                                                                                           debt guaranteed by Michael C. Hild
First Tennessee Bank, N.A., 165 Madison Ave., Memphis, TN 38103                      6/12/2018 - 6/10/2019                             $532,651,287.09       Borrower Loan Transactions;
                                                                                                                                                           debt guaranteed by Michael C. Hild
Customers Bank, 99 Bridge Street, Phoenixville, PA 19460                             6/12/2018 - 6/10/2019                              $59,521,724.56        Borrower Loan Transactions;
                                                                                                                                                           debt guaranteed by Michael C. Hild
Customers Bank, 99 Bridge Street, Phoenixville, PA 19460                                  06/04/2019                                       $213,446.99    Loan Surrender Agreement Shortfall;
                                                                                                                                                           debt guaranteed by Michael C. Hild
                                                             Total Transfers That May Have Benefited an Insider:                       $955,212,176.97




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Attachment 7 - Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits                                                              In re Live Well Financial, Inc.
                                                                                                                                                                            Case No. 19-11317-LSS (Bankr. D. Del.)


Case title                                                                             Case number                       Court's name                   Nature of case                  Status of case
Boster v. Live Well Financial, Inc., et al.                                           2:2017-cv-03857       USDC, Southern District of West Virginia   Consumer action                Stayed as to debtor
Edmond v. Live Well Financial, Inc., et al.                                           1:2019-cv-00703        USDC, Southern District of New York       Consumer action                Stayed as to debtor
Five Elms Coinvest, L.P. v. Live Well Financial, Inc.                                   N19C-05-289                Delaware Superior Court             Breach of contract                   Stayed
Five Elms Equity Fund I, L.P. v. Live Well Financial, Inc.                              N19C-05-322                Delaware Superior Court             Breach of contract                   Stayed
Five Elms Haakon, L.P. v. Live Well Financial, Inc.                                     N19C-05-317                Delaware Superior Court             Breach of contract                   Stayed
Flagstar Bank FSB v. Hild                                                             2:2019-cv-11512         USDC, Eastern District of Michigan       Breach of contract             Stayed as to debtor
Live Well Financial, Inc v. Sanatna-Martinez, et al.                                  3:2019-cv-01039            USDC, District of Puerto Rico            Foreclosure                      Pending
Live Well Financial, Inc., et al.                                                                          U.S. Securites and Exchange Commission        Investigation                     Pending
Live Well Financial, Inc., et al.                                                                            USAO, Southern District of New York         Investigation                     Pending
Live Well Financial, Inc. v. American Advisors Group, Inc.                            3:2018-cv-00146          USDC, Eastern District of Virginia      Breach of contract                 Dismissed
Live Well Financial, Inc. v. Cardona-Alicea, et al.                                   3:2016-cv-02397            USDC, District of Puerto Rico            Foreclosure                     Dismissed
Live Well Financial, Inc. v. Elsie Esther Castro-Carrasquillo, et al.                 3:2016-cv-01312            USDC, District of Puerto Rico            Foreclosure                   Post judgment
Live Well Financial, Inc. v. Fidelity Finance Inc.                                     CL18003575-00            VA Richmond City Circuit Court             Contracts                      Dismissed
Live Well Financial, Inc. v. Mortgage Direct Inc.                                      CL18005019-00            VA Richmond City Circuit Court             Contracts                   Default Judgment
Live Well Financial, Inc. v. One Reverse Mortgage LLC                                  CL18003142-00            VA Richmond City Circuit Court             Contracts                      Dismissed
Live Well Financial, Inc. v. Ratcliff                                                 9:2016-cv-00197           USDC, Eastern District of Texas           Foreclosure                   Post judgment
Live Well Financial, Inc. v. The Estate of Altagracia Romancce Porratadoria, et al.   3:2016-cv-03004            USDC, District of Puerto Rico            Foreclosure                   Post judgment
Live Well Financial, Inc. v. The Estate of Luis Torregrosa-Lopez, et al.              3:2016-cv-01733            USDC, District of Puerto Rico            Foreclosure                   Post judgment
Live Well Financial, Inc. v. Tonge-Santiago, et al.                                   3:2017-cv-02222            USDC, District of Puerto Rico            Foreclosure               Terminated as to debtor
Live Well Financial, Inc. v. Valentine, et al.                                        6:2018-cv-00119           USDC, Eastern District of Texas           Foreclosure                   Post judgment
LWFVEST, LLC v. Live Well Financial, Inc.                                               N19C-05-290                Delaware Superior Court             Breach of contract                   Stayed
North Hill Ventures II, L.P. v. Live Well Financial, Inc.                               N19C-05-292                Delaware Superior Court             Breach of contract                   Stayed
Shakespeare v. Live Well Financial, Inc., et al.                                      2:2018-cv-07299         USDC, Eastern District of New York       Consumer action                Stayed as to debtor
U.S. Securites and Exchange Commission v. Live Well Financial, Inc., et al.             1:19-cv-8086         USDC, Southern District of New York           Civil fraud                     Pending
Williams v. Live Well Financial, Inc.                                                 1:2019-cv-00868             USDC, District of Delaware              WARN Act             Stayed, adversary proceeding filed
Williams v. Live Well Financial, Inc.                                                 19-ap-50262-LSS             USBC, District of Delaware              WARN Act                         Pending




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Attachment 30 - Payments, distributions, or withdrawals credited or given to insiders                                                       In re Live Well Financial, Inc.
                                                                                                                                  Case No. 19-11317-LSS (Bankr. D. Del.)


                                              Amount of money or
                                                                                                   Reason for
Name and address of recipient                description and value          Dates                                    Relationship to debtor
                                                                                               providing the value
                                                       of property
Stuart Cantor (address on file)                        $42,975.00         7/5/2018                Directors Fee             Insider
Stuart Cantor (address on file)                        $42,975.00         10/3/2018               Directors Fee             Insider
Stuart Cantor (address on file)                        $42,975.00         1/4/2019                Directors Fee             Insider
Stuart Cantor (address on file)                        $42,975.00         4/5/2019                Directors Fee             Insider
Cantor Subtotal:                                      $171,900.00

Glenwood L. Haddock (address on file)                   $4,166.67          6/15/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67          6/29/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67          7/13/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67          7/31/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67          8/15/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67          8/31/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67          9/14/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67          9/28/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67         10/15/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $1,967.81         10/22/2018         Expense Reimbursement          Insider
Glenwood L. Haddock (address on file)                   $4,166.67         10/31/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67         11/15/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,166.67         11/30/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67         12/14/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67         12/31/2018                 Payroll                Insider
Glenwood L. Haddock (address on file)                   $4,794.95          1/6/2019          Expense Reimbursement          Insider
Glenwood L. Haddock (address on file)                  $10,416.67          1/15/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          1/31/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          2/15/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          2/28/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          3/15/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          3/29/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          4/15/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          4/30/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          5/15/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          5/31/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          6/14/2019                 Payroll                Insider
Glenwood L. Haddock (address on file)                  $10,416.67          6/28/2019                 Payroll                Insider
Haddock Subtotal:                                     $202,596.18

Michael C. Hild (address on file)                      $51,770.83         6/15/2018                 Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83         6/29/2018                 Payroll                 Insider
Michael C. Hild (address on file)                     $556,619.09         7/2/2018               Guarantee Fee              Insider
Michael C. Hild (address on file)                      $42,975.00         7/6/2018               Directors Fee              Insider



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Attachment 30 - Payments, distributions, or withdrawals credited or given to insiders                                                       In re Live Well Financial, Inc.
                                                                                                                                  Case No. 19-11317-LSS (Bankr. D. Del.)


                                              Amount of money or
                                                                                                   Reason for
Name and address of recipient                description and value          Dates                                    Relationship to debtor
                                                                                               providing the value
                                                       of property
Michael C. Hild (address on file)                      $51,770.83          7/13/2018                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          7/31/2018                Payroll                 Insider
Michael C. Hild (address on file)                     $569,119.09          8/1/2018              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $51,770.83          8/15/2018                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          8/31/2018                Payroll                 Insider
Michael C. Hild (address on file)                     $569,119.09         9/14/2018              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $51,770.83          9/14/2018                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          9/28/2018                Payroll                 Insider
Michael C. Hild (address on file)                     $569,119.09         10/3/2018              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $51,770.83         10/15/2018                Payroll                 Insider
Michael C. Hild (address on file)                      $42,975.00         10/22/2018             Directors Fee              Insider
Michael C. Hild (address on file)                      $51,770.83         10/31/2018                Payroll                 Insider
Michael C. Hild (address on file)                     $569,119.09         11/2/2018              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $51,770.83         11/15/2018                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83         11/30/2018                Payroll                 Insider
Michael C. Hild (address on file)                     $569,119.09         12/3/2018              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $51,770.83         12/14/2018                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83         12/31/2018                Payroll                 Insider
Michael C. Hild (address on file)                     $569,119.09          1/2/2019              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $42,975.00          1/4/2019              Directors Fee              Insider
Michael C. Hild (address on file)                      $51,770.83          1/15/2019                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          1/31/2019                Payroll                 Insider
Michael C. Hild (address on file)                     $568,962.84          2/1/2019              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $51,770.83          2/15/2019                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          2/28/2019                Payroll                 Insider
Michael C. Hild (address on file)                     $568,962.84          3/1/2019              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $51,770.83          3/15/2019                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          3/29/2019                Payroll                 Insider
Michael C. Hild (address on file)                     $568,962.84          4/1/2019              Guarantee Fee              Insider
Michael C. Hild (address on file)                      $51,770.83          4/15/2019                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          4/30/2019                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          5/15/2019                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          5/31/2019                Payroll                 Insider
Michael C. Hild (address on file)                      $51,770.83          6/14/2019                Payroll                 Insider
Michael C. Hild (address on file)                      $17,500.00          6/28/2019                Payroll                 Insider
Hild Subtotal:                                      $7,118,917.90

Eric G. Rohr (address on file)                         $21,145.83         6/15/2018                  Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83         6/29/2018                  Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83         7/13/2018                  Payroll                Insider



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Attachment 30 - Payments, distributions, or withdrawals credited or given to insiders                                                       In re Live Well Financial, Inc.
                                                                                                                                  Case No. 19-11317-LSS (Bankr. D. Del.)


                                              Amount of money or
                                                                                                   Reason for
Name and address of recipient                description and value          Dates                                    Relationship to debtor
                                                                                               providing the value
                                                       of property
Eric G. Rohr (address on file)                         $21,145.83          7/31/2018                 Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83          8/15/2018                 Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83          8/31/2018                 Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83          9/14/2018                 Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83          9/28/2018                 Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83         10/15/2018                 Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83         10/31/2018                 Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83         11/15/2018                 Payroll                Insider
Eric G. Rohr (address on file)                         $21,145.83         11/30/2018                 Payroll                Insider
Eric G. Rohr (address on file)                          $1,951.85         12/14/2018                 Payroll                Insider
Rohr Subtotal:                                        $255,701.81

TOTAL:                                              $7,749,115.89




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